     Case 4:17-cv-00276-A NOTICE OF1-3
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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

BRYAN C. WAGNER,                       §
                                       §
      Plaintiff,                       §
                                       §
v.                                     § CIVIL ACTION NO.:
                                       §
NORTHFIELD INSURANCE COMPANY,          §
                                       §
      Defendant.                       §
______________________________________________________________________________

           INDEX OF DOCUMENTS FILED IN STATE COURT ACTION
______________________________________________________________________________

        Pursuant to Local Rule 81.1(a)(4), Defendant, Northfield Insurance Company

(“Northfield”), hereby provides the following index of all documents filed in the state court

action, and all documents served upon Northfield, which are attached hereto:


              Document                  Filing Date
1.     Citation                n/a (received March 2, 2017)

2.     Plaintiff’s Original    February 28, 2017
       Petition
    Case 4:17-cv-00276-A NOTICE OF1-3
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      TEXAS DEPARTMENT OF INSURANCE
      General Counsel Division (113-2A)
*
      333 Guadalupe, Austin, Texas 78701 * P0 Box 149104, Austin, Texas 78714-9104     CORPORATE LITIGATION
•
      (512) 676-6585 I F: (512) 490-1064 1(800) 578-4677 I TDi.texas.gov I @TexasTDl       HARTFOIRD

                                                                                          MAR 082017
      March 3, 2017
                                                                                           RECEIVØ PM
                                                   Certified Mail No. 7010 1870 0003 4284 4519
                                                                Return Receipt Requested


      Brian W. MacLean, President
      Northfield Insurance Company
      1 Tower Square
      Hartford, CT 06183-0001


      Re: Cause No. 067-290721-17; styled Bryan c. Wagner vs. Northfield Insurance Company;
           in the 671h Judicial District Court, Tarrant County, Texas
           TO) E-Case No. 12678


      Greetings:

      Service of Process has been requested through the Commissioner of Insurance. Enclosed
      please find citation and Plaintiff's Original Petition and Exhibits A and B in the above-
      referenced matter. These documents were served upon the Commissioner of Insurance on
      March 2, 2017.

      Sincerely,

        z4A4J
      Tish Wilhelm
      General Counsel Division
      (512) 676-6543


      Enclosures
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                                               THE STATE OF TEXAS                                               SERVICE COPY
                                        DISTRICT COURT, TARRANT COUNTY

                                                            CITATION                        cause No. 067-290721-17
                                    BRYAN C. WAGNER
                                                             vs,
                              NORTHFIELD INSURANCE COMPANY
To and through the Commissioner Of Insurance, 333 Guadalupe, Austin, Texas 78701
TO: NORTHFIELD INSURANCE COMPANY
                                                      B/S PRESIDENT OR NOMINEE 1295 NORTHLAND DR MENDOTA HEIGHTS, MN 55120-



SERVICE OF PROCESS MAY BE HAD UPON DEFENDANT BY DELIVERING TO THE COMMISSIONER OF INSURANCE, STATE OF TEXAS, TRIPLICATE
COPIES OR THIS CITATION TOGETHER WITH TRIPLICATE COPIES OF THE PLAINTIFF'S PETITION ATTACHED HERETO.
You said DEFENDANT are hereby commanded to appear by filing a written answer to the PLAINTIFF'S ORIGINAL PETITION
at or before 10 o'clock A.M. of the Monday next after
the expiration of 20 days after the date of service hereof before the 67th District Court
,100 N CALHOUN, in and for Tarrant County, Texas, at the Courthouse in the City of Fort Worth, Tarrant unty. Texas
said PLAINTIFF being                                                                                      "1


                                                                                                                   1
BRYAN C WAGNER
                                                                                                           -.
Piled in said Court on February 28th, 2017 Against
NORTHFIELD INSURANCE COMPANY
                                                                                                       L;       L)
For suit, said suit being numbered 067-290721-17 the nature of which demand is as shown on said                  -..
PLAINTIFF'S ORIGINAL PETITION a copy of which accompanies this citation.



                                                          MARSHALL M SEARCY, JR
                                            Attorney for BRYAN C WAGNER Phone No. (817)332-2500
                                            Address 201 MAIN ST STE 2500 FORT WORTH, TX 76102
        Thomas A. Wilder        , Clerk of the District court of Tarrant County, Texas. Given under toy hand,,am&'ehp meal
of said court, at office in the city of Fort Worth, this the let day of March, 2017.


                                                       By
                                                                         ANTHONY FERRARA              '.•.
NOTICE: You have been sued. You may employ an attorney. If you or your attorney do not file a written
clerk who issued this citation by 10:00 AM, on the Monday next following the expiration of twenty days aftei"
served this citation and petition, a default judgment may be taken against you.
         Thomas A. Wilder, Tarrant County District Clerk, 100 N CALHOUN, FORT WORTH TX 76196-0402

                                   OFFICER'S RETURN *06729072117000004*
Received this Citation on the  Z"iQ day of            /"1.4'Z.C//            -3 at
                                                                          22./Z           o' clock 41j.; and executed at
                                      within the County of             __   , State of            at _______ o'clock     H
on the ________ day of                   ,       by delivering to the within named (Def.):
defendant(s), a true copy of this Citation together with the accompanying copy of PLAINTIFF'S ORIGINAL PETITION
  having first endorsed on same the date of delivery.



            Authorized Person/Constable/Sheriff:
            County of                                State of_________ By                                         Deputy
Fees $
State of                 County of                                     Must be verified if served outside the State of Texas)
Signed and sworn to by the said                                         before me this       day of
to certify which witness my hand and seal of office                                                    U
(Seal)
                                           County of                        ,State of
                                                                                                  3'       Z..'    /J
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                              CITATION


                   Cause No, 067-29072147
      BRYAN C. WAGNER

                          vs.
      NORTHFIELD INSURANCE
      COMPANY
                     ISSUED
    This 1st day of March, 2017

           Thomas A. Wilder
       Tarrant County District Clerk
             100 N CALHOUN
       FORT WORTH TX 76196-0402

    By                 ANTHONY FERRARA Deputy


   MARSHALL M SEARCY, JR
   Attorney for: BRYAN C WAGNER
   Phone No. (817)332-2500
   ADDRESS: 201 MAIN ST STE 2500

                FORT WORTH, TX 76102

                CJVEL LAW


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                                          067-290721-17                              THOMAS A. WILDER
                                 CAUSE NO.                                               DISTRICT CLERK

BRYAN C. WAGNER                                 §         IN THE DISTRICT COURT OF
                                                §
       Plaintiff,                               §
                                                §
VS.                                             §
                                                §           TARRANT COUNTY, TEXAS
NORTHFIELD INSURANCE                            §
COMPANY,                                        §
                                                §
       Defendant.                               §
                                                §            _TH JUDICIAL DISTRICT

                           PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       Plaintiff Bryan C. Wagner ("Wagner" or "Plaintiff') files this Original Petition against

Defendant Northfield Insurance Company ("Northfield" or "Defendant") and would respectfully

show as follows:

                                           I.
                                DISCOVERY CONTROL PLAN

       1.      Plaintiff requests that this case be governed by a Level 3 Discovery Control Plan

as set forth in Texas Rule of Civil Procedure 190.

                                           II.
                                    CLAIM FOR RELIEF

       2.      Plaintiff seeks monetary relief of $1,000,000 or more and any other relief to

which Plaintiff may show himself justly entitled.

                                             III.
                                           PARTIES

       3.      Plaintiff Bryan C. Wagner is an individual who resides in Tarrant County, Texas.

       4.      Defendant Northfield is an Iowa surplus lines carrier with its principal place of

business in Connecticut. Because Northfield does not appoint or maintain a registered agent in


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     Texas, it may be served with process through the Commissioner of Insurance, Texas Department

     of Insurance, P.O. Box 149104, Austin, TX 78714-9104. Additionally, pursuant to the Service

     of Suit Endorsements attached to General Liability Policy No. NN100227 and Umbrella Liability

     Policy No. NU101368, Northfield may also be served through its President or his nominee, at

     1295 Northland Drive, Mendota Heights, Ml'! 55120.

                                                IV.
                                      JURISDICTION AND VENUE

             5.     The Court has subject matter jurisdiction over this dispute because the damages

     and relief sought are within the jurisdictional limits of this Court. At this time, Wagner seeks

     monetary relief of $1,000,000 or more and any other relief to which Wagner may show himself

     justly entitled. Wagner's damages, however, will increase as Wagner incurs additional

     attorneys' fees as a result of Northfield's wrongful conduct.

             6.     The Court has personal jurisdiction over Northfield because it regularly transacts

     business in the State of Texas and has had systematic and continuous contacts with the State of

     Texas. Additionally and alternatively, the Court has personal jurisdiction over Northfield

     because the causes of action asserted herein arise from and directly relate to Northfield's

     transaction of business with Wagner within the State of Texas.

            7.      Venue is proper in Tarrant County because a substantial part of the events or

     omissions giving rise to Wagner's claims occurred in Tarrant County and, alternatively, because

     Wagner resides in Tarrant County. TEX. CIV. PRAC. & REM. CODE § 15.002(a).




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                                          V.
                                   BACKGROUND FACTS

       1.      Wagner obtained several insurance policies from Northfield, including

Commercial General Liability Policy No. NN100227 ("General Liability Policy") (a true and

correct copy is attached hereto as Exhibit A) and Commercial Umbrella Liability Policy No.

NU101368 ("Umbrella Policy") (a true and correct copy is attached hereto as Exhibit B)

(collectively, the "Policies"). These Policies provided coverage to Wagner for the policy period

January 31, 1999 to January 31, 2000.

       2.      A premium of $17,648.00 was paid for the General Liability Policy, which

provided Wagner with no less than $1,000,000.00 in indemnity insurance coverage per

occurrence and unlimited defense insurance coverage. Wagner is a named insured under the

General Liability Policy.

       3.      A premium of $13,375.00 was paid for the Umbrella Policy, which provided

Wagner with no less than $10,000,000.00 in insurance coverage per occurrence. Wagner is a

named insured under the Umbrella Policy.

       4.      The Policies provide coverage for, among other things, "property damage" and

"insured contractual liability."

        5.     In September 2009, ExxonMobil Corporation ("Exxon") filed suit against

Wagner, Duer Wagner III, Trade Exploration Corp., and James Finley (collectively, the "Wagner

Group") in Texas state court in the action styled ExxonMobil Corp. v. Trade Exploration Corp.,

et al., No. 09-60726, currently pending in the 189 Judicial District Court for Harris County,

State of Texas, claiming the Wagner Group owed contractual indemnity and a duty to defend




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Exxon against various claims and liabilities in three underlying Louisiana legacy suits.' The

underlying Louisiana legacy suits allege, among other things, property damage.

        6.       The ExxonMobil suit alleges, among other things, that Wagner's contractual

indemnity obligation arises from an "Assignment, Bill of Sale and Quitclaim." The

"Assignment, Bill of Sale and Quitclaim" obligates Wagner "to indemnify, hold harmless and

defend [Exxon] from and against all damages, losses, claims, demands, and causes of action

brought by any and all persons ... on account of any personal injury, death, damage, destruction,

[or] loss of property" and "to indemnify, defend and hold [Exxon] harmless from any and all

claims, causes of action, fines, expenses, costs, losses, and liabilities whatsoever in connection

with the environmental condition of the assigned property or other property affected thereby

." The allegations asserted against Wagner in the ExxonMobil suit are covered under the Polices

thereby triggering Northfield's duty to defend.

        7.       A previous determination has been made that the Policies provide coverage, for

among other things, insured contractual liability. Likewise, a previous determination has been

made that Northfteld's duty to defend is not negated under either the application of: (1) the

"Pollution Exclusion"; or (2) the "Contractual Liability Exclusion," Moreover, a determination

has been made that the ExxonMobil pleading allegations trigger an exception to the "Contractual

Liability Exclusion."

        8.       On or about April 4, 2011, in compliance with the terms and conditions of the

Policies, Wagner (through his insurance broker) submitted a request for insurance benefits in



  Previously, in 1994, the Wagner Group had acquired certain oil and gas interests in Louisiana from Exxon. The
three underlying "legacy lawsuits" are Ivf..J Farms, Ltd v. ExxonMobil Corp., el. aL, Case No. 24055, in the 7th
Judicial District Court for the Parish of Catahoula, State of Louisiana; Agri-South Group, LL.C., et. al. v.
Exxon'JobiI Corp., ci al., Case No. 24132, in the 7th Judicial District Court for the Parish of Catahoula, State of
Louisiana; Avahoula Resources, L.L.C. v. ExxonMobil Corp., ci al., Case No. 24625, in the 7 h Judicial District
Court for the Parish of Catahoula, State of Louisiana in which both ExxonMobil and Wagner are Defendants.

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connection with the ExxonMobil suit to Northfietd.2 On August 17, 2011, Wagner provided

Northfield with additional information requested by Northfield in connection with its coverage

analysis, notwithstanding the coverage analysis was limited to a comparison of the Policies and

pleadings.

        9.       Over three years later, on October 17, 2014, Northfield belatedly responded and

wrongfully denied Wagner's request for insurance benefits.

        10.      To date, Wagner has incurred over $1.26 million in uncompensated attorneys'

fees and costs associated with the ExxonMobil suit for which Northfield is responsible pursuant

to its duty to defend Wagner.

        11.      Because of Northfield's wrongful conduct in refusing to reimburse Wagner,

Wagner has been forced to carry the uncompensated costs incurred in defense of the ExxonMobil

suit.

        12.      Wagner is entitled to insurance benefits under the Northfield Policies. Wagner

has complied with all conditions precedent under the Policies, and all conditions precedent to

recovery have occurred, been performed, or been excused.

                                                VI.
                                         CAUSES OF ACTION

A.      Declaratory Judgment.

        13.      All prior paragraphs are incorporated herein by reference.

        14.      Pursuant to the Uniform Declaratory Judgment Act, Chapter 37 of the Texas Civil

Practice and Remedies Code, Wagner requests that the Court declare the parties' respective

rights and obligations under the Policies. Specifically, Wagner seeks a declaration that

Northfield has a contractual duty to defend Wagner in connection with the ExxonMobil suit.

2
 Notice was provided directly to Travelers, of which Northfield Insurance Company is an indirect subsidiary. For
ease of reference, Northfield and Travelers will collectively be referred to as "Northfield."

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        15.    Plaintiff's demand for defense and reimbursement of defense costs under the

Policies is a real, actual, and justiciable controversy.

B.      Breach of Contract.

        16.    All prior paragraphs are incorporated herein by reference.

        17.     Northfield breached its contractual duties owed to Wagner under the Policies.

        18.     Northfield has a contractual duty to defend Wagner in connection with the

ExxonMobil suit. There is no policy exclusion that negates Northfield's defense coverage

obligations and/or the pleading allegations trigger Northfield's defense coverage obligations

under an exception to a policy exclusion. Wagner properly notified Northfield of his claim for

coverage, yet Northfield denied coverage and has refused to comply with its obligations.

        19.     Wagner has suffered substantial damages as a proximate cause of Northfield's

material breaches of the Policies. These damages include the costs associated with the defense

of the ExxonMobil suit that remain uncompensated. Wagner is entitled to recover the full

amount due under the Policies including all attorneys' fees, costs, and expenses.

C.      Violations of the Prompt Payment of Claims Subchapter of the Texas Insurance
        Code.

        20.     All prior paragraphs are incorporated herein by reference.

        21.     Northfield failed to comply with the prompt payment of claims provisions of the

Texas Insurance Code (§§ 542.051-542.061) by failing to timely accept, reject, or extend the

deadline for deciding Wagner's claim and by unreasonably delaying payment of Wagner's

benefits under the Policies. Northfield unreasonably withheld such benefits despite having

received all items, statements and forms reasonably requested and required for a period of over

60 days.




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       22.     By not complying with the prompt payment provisions of the Texas Insurance

Code, Northfield is subject to a statutory penalty of 18% interest per annum on the total amount

of Wagner's damages and benefits under the above-referenced policies, which Wagner hereby

seeks to recover. This statutory penalty is in addition to Wagner's attorneys' fees and expenses

incurred in prosecuting this suit.

E.     Attorneys' Fees.

       23.     All prior paragraphs are incorporated herein by reference.

       24.     Northfield's wrongful conduct has forced Wagner to retain the undersigned

attorneys to prosecute these claims. Wagner has demanded that Northfield perform its

contractual obligations under the Policies but Northfield has refused. Wagner is therefore

entitled to recover his reasonable and necessary attorneys' fees and costs in prosecuting this

action under § 37.009 of the Texas Civil Practices and Remedies Code, § 38.001 of the Texas

Civil Practices and Remedies Code, and § 542.060 of the Texas Insurance Code.

                                             VII.
                                        JURY DEMAND

       25.     Wagner requests a jury trial on all questions of fact in this lawsuit pursuant to

Texas Rule of Civil Procedure 216. Wagner is submitting the requisite jury fee along with this

Original Petition,


          NORTHFIELD'S POLICY INTERPRETATION 1I3I[SM11 D(Sd1I
                                       iI!iLh

       26.     Wagner contends his interpretation of the relevant provisions of the Policies is the

only reasonable interpretation. Alternatively, to the extent that Northfield's interpretation could

also be considered reasonable, then in that circumstance Wagner alleges that the Policies are

ambiguous and that such ambiguity must be resolved in favor of the insured, Wagner.


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                                          Ix.
                                 CONDITIONS PRECEDENT

       27,     All conditions precedent have been performed or have occurred as required.


                                          X.
                                 REQUEST FOR DISCLOSURE

       28.     Under Texas Rule of Civil Procedure 194, Wagner requests that Northfield

disclose, within 50 days of the service of this request, the information or material described in

Rule 194,2

                                            XI.
                                     PRAYER FOR RELIEF

       29.     Wagner prays that upon trial of the merits, the Court enter judgment in Wagner's

favor on all claims asserted herein, including without limitation:

       (a)     declaratory relief providing that Northfield has a contractual duty to defend
               Wagner in the ExxoiiMobil Lawsuit

       (b)     actual damages as set forth above;

       (c)     reasonable and necessary attorneys' fees and costs incurred in connection with
               Wagner's claims against Northfield;

       (d)     costs of Court;

       (e)     pre- and post-judgment interest at the maximum rate allowed by law; and

       (f)     all other and further relief to which Plaintiff is justly entitled, whether at law or in
               equity.




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                                       Respectfully submitted,

                                       /s/ Marshall M Searcy
                                       Marshall M. Searcy, Jr.
                                       State Bar No. 17955500
                                       marshall.searcy@kellyhati.com
                                       Scott R. Wiehie
                                       State Bar No. 24043991
                                       scott.wiehle@kellyhart.com
                                       Derek W. Anderson
                                       State Bar No. 24012215
                                       derek,anderson@kellyhaitcom
                                       Whitney D. Beckworth
                                       State Bar No. 24087400
                                       whitney.beckworthkellyhart.com
                                       KELLY HART & HALLMAN
                                       201 Main Street, Suite 2500
                                       Fort Worth, Texas 76102
                                       Telephone: (817) 332-2500
                                       Facsimile: (817) 878-9462

                                       ATTORNEYS FOR BRYAN C. WAGNER




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   'Insurance
    Northland
              Companies
                                        COMMERCIAL GENERAL LIABILITY
                                           POLICY DECLARATIONS
                                                                                                          COVERAGE IS PROVIDED BY:
                                                                                                          NORTHFIELD INSURANCE COMPANY


                                                                                                                  Policy No. NN100227

Policy Period: From              January 31, 1999               to     January 31, 2000                         Renewal of NEW
                                                                                                                      No.
at 12:01 A.M. Standard Time at your mailing address shown below.

Named insured and Mailing Address:                   Wagner Oil Company
                                                     3400 City Center Tower II
                                                     Ft. Worth, Texas 76102

LIMITS OF INSURANCE
General Aggregate Limit (Other Than Products-Completed Operations)                     $2,000,000
Products-Completed Operations Aggregate Limit                                          $1,000,000
Underground Resources & Equipment Hazard Aggregate Limit                               $1,000,000
Personal and Advertising Injury Limit                                                  $1,000,000
Each Occurrence Limit                                                                  $ 1,000.000
Fire Damage Limit                                                                      $ 100,000 Any One Fire
Medical Expense Limit                                                                  $     5,000 Any One Person

BUSINESS DESCRIPTION AND LOCATION OF PREMISES
Form of Business:
      Individual        j Joint Venture          EJ Partnership EJ              LLC           jJ   Organization (Other then Partnership or Joint Venture)

Business Description:             Lease Operator/Non Operator                  j DrillinglWorkover Contractor                   Service Contractor

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE AGREE WITH YOU
TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.
PREMIUM
                                                                                                      Rate                       Advance Premium
Classification                           Code No,         Premium Basis                      Pr/CO        All Other           Pr/CO         All Other

(See Adjustable Rate Endorsement)


                                                                    Minimum Premium (per annum)                          $      15,912.00
                          Premium Payable at Inception (see Minimum Earned Premium Endorsement)                          $      17,648.00
                                         Auto Non-Ownership Liability (separate Minimum Premium)                         $           N/A
                                                                                        Policy Fee                       $         50000
                                                                                   Texas State Tax                       $         88018
                                                                               Texas Stamping Fee                        $          27.22
                                                                         Total Payable at Inception                      $      19055.40

FOAMS AND ENDORSEMENTS (other than applicable Forms and Endorsements shown elsewhere in the policy)
Forms and Endorsements applying to this Coverage part and made part of this policy at time of issue:
P651-OS (10-97)              P604-OG (10-97)                  P588-OS (10-97)                      P611-OG (2-98)                 P593-OG (10-97)
P664-OG (10-97)              CG 22 57 01 96                   P592-OS (10-97)                      P613-OG (10-97)                S1030-IL (6/94)
P650-OG (10-97)              P608-OG (10-98)                  P598-OS (10-97)                      P595-OG (10-97)                IL 02 75 (06195)
CG03 00 01 96                P584-OG (10-97)                  P599-OS (10-97)                      P589-OG (10-97)                Endorsement No. 1
P663-OG (10/97)              P614•OG (10-91)                  F'602-OG (10-97)                     P590-OG (10-97)
CG 02 12 11 85               P585-OS (10-97)                  P603-OS (10-97)                      P618-06 (10-97)
CG 21 47 10 93               P587-OS (10-97)                  P805-00 (10-97)                      P596-OS (10-97)

Countersigned: AGENCY #049000
Burke-Daniels Co., Inc.
P. 0. Box 36069                                                                               By:________________________________
Houston, Texas 172366069                                                                             Authorized Representative
                                                                                                                                                EXHIBIT
                                                                                                                                                       A.
P664-OG (10/97)    includes copyrighted material of Insurance Services Office, inc., with its permission. Copyright Insurance Services Office, Inc. 1985
                                                                                                                                    Northfield 000(I)
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                                        Northland insurance
                                                    A Vav*lers Cornpny
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                                                          COMMERCIAL INSURANCE
                                                                POLICY FOR
                                                          OIL AND GAS OPERATIONS


                                                          AdmInster.d by: Burka43anleis Co., Inc.
                                                                           9301 Southwest FVBSWSY, Suite 500
                                                                           Houston. TX 77074
                                                                           Phone: 713) 981-3$00 Fax: (713) 901-3999




                                                                                      Northfield Insurance Company
                                                                                      1295 Northland Drivc
                                                                                      Mendota Heights, Minnesota 55120
                                                                                      1-e00-237-9334


                                                                                                             Stock Company


                                        P651.OG (10)97)
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                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT (Broad Form)                                                                     Al Coverage Parts included In this policy are subject to the following conditions.
This endorsement modlilea Insurance provided under the following:
                                                                                                                                                 CANCELLATION                                                              INSPECTIONS AND SURVEYS
Comniercial Avic/Garige Coverage Part                                   Owners and Contractors Protective Liability Coverage Part                1. The tInt Named Insured shown in the Declarations                       We have the right but are not obligated to:
Commercial General Liability Coverage Pert                              Commercial Professional Ltabflhty Coverage Part                                                                                                    I. Make inspectIons and surveys at any time;
Products/Completed Operations Liability Coverage Part                                                                                                 may cancel this policy by mailing Cr delivering to us
                                                                        9u3ineasowners Liability Coverage Porn,
                                                                                                                                                      advarrcewrttien notice of cancellation.                              2. GIve you reports on the conditions we ilridl and
                                                                                                                                                 2. We may cancel this policy by mailing or delivering to                  3. Recommend changes.
    This insurance does not apply:                                          As used in this endorsement:                                              the Stat Named Insured written notice of cancellation                Any inspections, surveys, reports or recommendation,
    A. Under any Liability Coverage to'bodily Injury or                     'hazardous properties' include radioactive, toxic or                      at least:                                                            relate only to Insurability and the premiums to be charged.
        "Property damage:                                                   explosive properties;                                                     a, 10 days before the ellecthre date of canceitetlon                 Wade not make safety lnspectlons, liVe do riot undertatte
        (1) 'Mth respect to wtiLcts an insured under the                    'nuclear material' means'source mstattat," 'special                            If we cancel for nonpayment of premium: or                      to padorrntheduty of any person oroiganlaatlonto provide
             policy is also an Insured Under a nuclear energy                nuclear lnatortal,' Cr 'by-product matarlar;                             b. 30 days before the effective date of cancelatlon                  for the health or safely of workers or the public. And we
             liability policy issued by Nuclear Energy Liability            'source materier. "special nuclear matertal' and                               It we cancel for any other reason,                              do not warrant that conditions:
             Insurance Association, Mutual Atomic Energy                     product rnteriat" have the meanings given them in the               3. We wilt mail or deliver our notice to the first Named                   I. Ara sefeorlroelthfui:or
             Liability Underwriters. Nuclear Insurance                      Atomic ErrergyArtlof 1954 or any Law amendatory thereon                   lnsuced's laatmaillrrg address known to us.                           2. Comply with laws, regulations. codes or standards.
            Association of Canada or any at their successors.               "spent fuel' means any fuel element or fuel component,
                                                                                                                                                 4. Notice of cencellaflori will state the effective date of                This condition apples not only to us, but also to any rating.
             of would be an Insured under any such policy but               solid orliquid,which hasbeenused oresrposedto radiation
             for its termination upon exhaustion of its limit of            in a "nuclear reactor:                                                    cancellation. The policy period will entice that data.               .dvlSoft rate service. oraimtierongertizaticrn which makes
             liabilIty; or                                                  'waste" means any waste material (a) containing 'by-                 S. Is this policy Is canceled, we will send the first Named                Insurance Inspections, surveys, reports or
        )2) Resulting from the'hazardous properties" of                      product malarial" other than tire tailings or wastes                     Insured any premium refund due. If we cancel, the                     recommendations.
             "njclearmat.nar and with respect Loch (e)                       Produced by the extraction or concentration of uranium                   rafr.nld will be pro rate. If the first Named Insured                 PREMIUMS
             any person or organization 13 required to maintain             orthoirurn from any are processed prirnacty for its "source               canccls, the refund may be less then pro rate. The                    The itrat Named Insured straws in the Declarations:
             itnendal protection pursuant to the Atomic Energy               matetlar content, and (2) reduttirig from the operation by               certoetlatlon wil be effective even it we have not mad,              1, It reeponaibte for the payment of all premIums; and
             Act Cr 1954, or any law amendatory thereof, or                 any parson ororganlastioany"ndearfacthity"induded                         or offered a refund.                                                  2. Will be the payee for any return pran,iums we pay.
             (b) the Insured" is, or had this policy not been                under the firSt two paragraphs of the deftnillori af'nueleet        6. If notice Is malted, proof Cl mating will be sufficient                 TRANSFER OF YOUR RIGHTS AND DUTIES UNDER
             issued would be, entitled to indemnity from the                facilhty"                                                                 proof of notice.                                                      ThIS POUCY
             United Static OfArrierlcs, or any agency thereof,                rrudeart'scility" means:                                           CHANGES                                                                    Your rights and duties under this policy may not be
             under any agreement entered into by the United                      (a) Any *nuclear reactor;                                       This policy contains all the agreements between you and                    transferred without our written consent except In the case
             States of America, or any agency thereof, with                      (b) Any equipment or device designed or used for
             any person or organization.                                              (1) separating the isotopes of uranium or
                                                                                                                                                 us concerning the insurance afforded. The that Named                       01 death of an Individual earned insured,
    E. Under any Medical Payments coverage, to expenses                                                                                          Insured shown In the Declarations Is authorized to make                   11 you dl.. your tights anti duties will be transferred to your
                                                                                      plutonium. (2) processing orutilizing 'spent fuel,'
        incurred with respect to "bodily injury" resulting from                       or (3) hatiing, processing or packaging'waste';            cir*ngco in the terms cit thIs policy with our ccrtsenl, This              legal representative but ordy while acting within the scope
        the 'hazardous properties" otnudear material" and                        (c) Arty equipment ordevice usedtorthc processing.              policy's terms can be amended or waived only by                            of duties as your legal representative. Until your legal
        arising out of the operation of a "nuclear facility' by                       fabricating, or alloying of special nuclear matettar       endorsement issued by tie and made apart of this policy,                   representative Is appointed, anyone having proper
        any person or organization.                                                   Cat any time the total amount of such material in          EXAMINATION OF YOUR BOOKS AND RECORDS                                      temporary custody of your property, will have your rights
    C. Under any Uabflty, Coverage, to "bodily Injury" or                             the custody of the Insured" at the premises where          We may examine and audit your books and records as                         and duties but only with respect to that property.
         properly damage' resulting from the "hazardous                               such equipment or device is located consists of            they relate to this policy atarsy time ftrdnsg the poky period
        properties" of "nuclear inatertal." lh                                        or contains more than 25 grams of plutonium or             and up to three year, atterward.
        (1) The -nuclear material' (a) Is at any fruci*Cr                             uranium 233 aranycornbinatlon thereof, or more
             facility owned by, or operated by or on behalf of,                       than 250 grams of urartitjm 23S
             an "insured" or (b) his been discharged or                           (dl Any structure, basin, excavation, premises or
             dispersed therefrom;                                                     place prepared or used for the storage ordlaposai
        (I The nuol.,r material" Is contained In*spent hjer                           Or "waste':
             or 'Waite" atarrytim.poesesxed, handled. used.                  and ll'rciudea the she on Which airy of the foregoing is
              Orocess.d. etored, transported Ordisposed of by                located, all operations conducted on such sIte and all          In witness Whereof, we have carried this policy to be executed and attested, but this policy shall not be valid unless
             or on bahilfaf an -insured'; or                                 premises Used for such operations;                              counter*taned bye duly authorized representative for us.
        (2) The'personal bijury' or"property danisgef arises                  nuclear reactor means any apparatus designed Oruaed
             out of the furnishing by err "Insured' of services.             to sustain nrjdeerltssion in a,elt-auppcttirsg chair reaction
              materials, parts or equipment In connection with               or to Contain a critical mass of fissionable material;
             the planning, construction, maintenance,                        "property damage' Includes all forms of radIoactive
             operation or use of any 'nuclear facility." out It              contamination of property.
             such facility in located within the United States of
             America, its territories or possessions or Canada,
             this exclusion (3) applies only to property
             damage" to such 'nuclear facility" and any
             property thereat.
                                                                                                                                                       2r               Secretary                                                         I,) President




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            Northland
            Insurance Companies
                                 COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and what is
and is not covered.

Throughout this policy the words "you" and "your' refer to the Named Insured shown in the Declarations, and any other
person or organization qualifying as a Named Insured under this policy. The words "we,1141 and Hour refer to the
company providing this insurance.

The word "insured means any person or organization qualifying as such under WHO IS AN INSURED (SECTION II).

Other words and phrases that appear in quotation marks have special meaning. Refer to DEFINITIONS (SECTION V).
SECTION I - COVERAGES
COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE LIABILITY

     Insuring Agreement

     a.    We will pay those sums that the insured becomes legally obligated to pay as damages because of 'bodily
           Injury" or property damage"to which this insurance applies. We will have the right and duty to defend any 'suit"
           seeking those damages. We may at our discretion investigate any"occurrence" and settle any claim or "suit"
           that may result. But:

           () The amount we will pay for damages is limited as described in LIMITS OF INSURANCE (SECTION III);
              and

           (2)   Our right and duty to defend end when we have used up the applicable limit of insurance in the payment
                 of judgments or settlements under Coverages A or B or medical expenses under Coverage C.

           No other obligation or liability to pay sums or perform acts or services is covered unless explicitly provided for
           under SUPPLEMENTARY PAYMENTS - COVERAGES A AND B.

     b.    This insurance applies to 'bodily Injury' and 'property damage' only if:

           (1) The'bodily injury' or 'property damage" is caused by an "occurrence" that takes place In the coverage
               territory"; and

           (2) The "bodily Injury" or "property damage" occurs during the policy period.

     C.    Damages because of "bodily injury" include damages claimed by any person or organization for care, loss of
           services or death resulting at any time from the bodily injury."

2.   Exclusions

     This insurance does not apply to:

     a.    Expected or Intended Injury

           "Bodily injury" or "property damage expected or intended from the standpoint of the insured. This exclusion
           does not apply to "bodily injury" resulting from the use of reasonable force to protect persons or property.




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     b. Contractual Liability

            "Bodily injury" or "property damage" for which the insured Is obligated to pay damages by reason of the
            assumption of liability in a contractor agreement. This exclusion does not apply to liability for damages:

            (1) That the insured would have in the absence of the contractor agreement.

            (2) Assumed in a contract or agreement that is an "insured contract", provided the "bodily injury" or "property
                damage" occurs subsequent to the execution of the contract or agreement. Solely for the purposes of
                liability assumed in an Insured contract", reasonable attorney fees and necessary litigation expenses
                Incurred by or for a party other than an insured are deemed to be damages because of "bodily Injury" or
                "property damage," provided:

                  (a) Liability to such party for, or for the cost of, that party's defense has also been assumed in the same
                      "insured contract"; and

                  (b) Such attorney fees and litigation expenses are for defense of that party against a civil or alternative
                      dispute resolution proceeding in which damages to which this Insurance applies are alleged.

     c      Liquor Liability

            "Bodily injury" or "property damage" for which any Insured may be held liable by reason of:

            (1) Causing or contributing to the intoxication of any person;

            (2) The furnishing of alcoholic beverages to a person under the legal drinking age or under the influence of
                alcohol; or

            (3) Any statute, ordinance or regulation relating to the sate, gift, distribution or use of alcoholic beverages.

            This exclusion applies only if you are In the business of manufacturing, distributing, selling, serving or furnishing
            alcoholic beverages.

     d,     Workers Compensation and Similar Laws

            Any obligation of the insured under a workers compensation, disability benefits or unemployment
            compensation law or any similar law.

     e.     Employer's Liability



            (1)   An "employee" of the insured arising out of and In the course of:

                  (a) Employment by the Insured; or

                  (b) Performing duties related to the conduct of the insured's business; or

            (2)   The spouse, child, parent, brother or sister of that "employee" as a consequence of paragraph (1) above.

            This exclusion applies:

            (1)   Whether the insured may be liable as an employer or in any other capacity; and




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            (2)    To any obligation to share damages with or repay someone else who must pay damages because of the
                   injury.

             This exclusion does not apply to liability assumed by the insured under an Insured contract.'

     f.      Pollution

            (1)    'Bodily IflJUIY' or 'property damage' arising out of the actual, alleged or threatened discharge, dispersal,
                   seepage, migration, release or escape of pollutants:

                   (a)   At or from any premises, site or location which Is or was at any time owned or occupied by. or rented
                         or loaned to, any Insured,

                   (b)   At or from any premises, site or location which is or was at any time used by or for any insured or
                         others for the handling, storage, disposal, processing or treatment of waste;

                   (C)   Which are or were at any time transported, handled, stored, treated disposed of, or processed as
                         waste by or for any Insured or any person or organization for whom you may be legally responsible;
                         or

                   (d)   At or from any premises, site or location on which any insured or any contractors or subcontractors
                         working directly or indirectly on any insured's behalf are performing operations:

                         (I)   lithe pollutants are brought on or to the premises, site or location in connection with such
                               operations by such Insured, contractor or subcontractor; or

                         (ii) if the operations are to lest for, monitor, clean up, remove, contain, treat, detoxify or neutralize,
                                  or In any way respond to, or assess the effects of pollutants.

                         Subparagraphs (a) and (d)(l) do not apply to 'bodily injury' or 'property damage' arising out of heat,
                         smoke or fumes from a hostile fire.

                         As used in this exclusion, a hostile fire means one which becomes uncontrollable or breaks out from
                         where it was intended to be.

             (2)   Any loss, cost or expense arising out of any:

                   (a)   Request, demand or order that any insured or others test for, monitor, clean up, remove, contain,
                         treat, detoxify or neutralize, or in any way respond to, or assess the effects of pollutants; or

                   (b)   Claim or 'Suit' by or on behalf of a governmental authority for damages because of testing for,
                         monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
                         responding to, or assessing the effects of pollutants.

                   Pollutants means any solid, liquid, gaseous or thermal irritant or contaminant, including smoke, vapor,
                   soot, fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned
                   or reclaimed.

      g.     Aircraft, Auto or Watercraft

             'Bodily injury" or 'property damage' arising out of the ownership, maintenance, use or entrustment to others of
             any aircraft, 'auto' or watercraft owned or operated by or rented or loaned to any insured. Use includes
             operation and 'loading or unloading.'

             This exclusion does not apply to:

            (1)    A watercraft while ashore on premises you own or rent;

            (2)    A watercraft you do not own that is:

                   (a) Less than 26 feet long; and
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                  (b) Not being used to carry persons or property for a charge;

           (3) Parking an "auto" on, or on the ways next to, premises you own or rent, provided the "auto" is not owned
               by or rented or loaned to you or the insured;

           (4) Liability assumed under any insured contract" for the ownership, maintenance or use of aircraft or
               watercraft.

     h.    Mobile Equipment

           "Bodily injury" or "properly damage" arising out of:

           (1) The transportation of 'mobile equipment" by an "auto" owned or operated by or rented or loaned to any
               insured; or

           (2) The use of "mobile equipment" in, or while in practice for, or while being prepared for, any prearranged
               racing, speed, demolition, or stunting activity.

           War

           "Bodily injury" or "property damage" due to war, whether or not declared, or any act or condition incident to war.
           War Includes civil war, insurrection, rebellion or revolution. This exclusion applies only to liability assumed
           under a contract or agreement.

           Damage to Property

           "Property damage" to:

           (1) Property you own, rent or Occupy;

           (2) Premises you sell, give away or abandon, if the "properly damage" arises out of any part of those
               premises;

           (3) Property loaned to you;

           (4) personal property In the care, custody or control of the insured;

           (5) That particular part of real property on which you or any contractors or subcontractors working directly or
               Indirectly on your behalf are performing operations, if the "property damage" arises out of those
               operations or

           (6) That particular part of any properly that must be restored, repaired or replaced because "your work" was
               incorrectly performed on it.

           Paragraph (2) of this exclusion does not apply if the premises are "your work" and were never occupied, rented
           or held for rental by you.

           Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to liability assumed under a sidetrack agreement.

           Paragraph (6) of this exclusion does not apply to "property damage" included in the "produclscompleted
           operations hazard."




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     Ic.    Damage to Your Product

            'Property damage' to 'your product' arising out of It or any part of it.

            Damage to Your Work

            'Property damage" to 'your work' arising out of it or any part of it and included in the "products-completed
            operations hazard."

            This exclusion does not apply if the damaged work or the work out of which the damage arises was performed
            on your behalf by a subcontractor.

     rn     Damage to Impaired Property or Property Not Physically injured

            Property damage' to 'impaired property" or property that has not been physically Injured, arising out of:

            (1) A defect, deficiency, Inadequacy or dangerous condition in your product' or "your work'; or

            (2) A delay or failure by you or anyone acting on your behalf to perform a contract or agreement in
                accordance with its terms.

            This exclusion does not apply to the loss of use of other property arising out of sudden and accidental physical
            injury to 'your product' or 'your work" after it has been put to Its Intended use.

     n.     Recall of products, Work or Impaired Property

            Damages claimed for any loss, cost or expense incurred by you or others for the loss of use, withdrawal, recall,
            inspection, repair, replacement, adjustment, removal or disposal of:

            (1) "Your product";
            (2) "Your work'; or
            (3) 'Impaired property";

            if such product, work, or property is withdrawn or recalled from the market or from use by any person or
            organization because of a known or suspected defect, deficiency, inadequacy or dangerous condition in it.

     Exclusions c. through n. do not apply to damage by fire to premises while rented to you or temporarily occupied by
     you with permission of the owner. A separate limit of insurance applies to this coverage as described in LIMITS OF
     INSURANCE (Section Ill).

COVERAGE 13. PERSONAL AND ADVERTISING INJURY LIABILITY

1.   Insuring Agreement

     a.     We will pay those sums that the insured becomes legally obligated to pay as damages because of "personal
            injury" or 'advertising injury" to which this insurance applies. We will have the right and duty to defend any 'suit"
            seeking those damages. We may at our discretion investigate any "occurrence" or offense and settle any claim
            or 'suit' that may result. But:

            (1) The amount we will pay for damages is limited as described in LIMITS OF INSURANCE (SECTION III);
                and

            (2) Our right and duty to defend end when we have used up the applicable limit of insurance in the payment
                of judgments or settlements under Coverage A or B or medical expenses under Coverage C.

            No other obligation or liability to pay sums or perform acts or services is covered unless explicitly provided for
            under SUPPLEMENTARY PAYMENTS - COVERAGES A AND B.

            This Insurance applies to:

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           (1) "Personal Injury" caused by an offense arising out of your business, excluding advertising, publishing,
               broadcasting or telecasting done by or for you;

           (2) "Advertising injury" caused by an offense committed in the course of advertising your goods, products or
               services;

           but only if offense was committed in the 'coverage territory" during the policy period.

2.   Exclusions

     This insurance does not apply to:

     a.    "Personal Injury" or advertising Injury":

           (1) Arising out of oral or written publication of material, if done by or at the direction of the insured with
               knowledge of its falsity;

           (2) Arising out of oral or written publication of material whose first publication took place before the beginning
               of the policy period;

           (3) Arising out of the willful violation of a penal statute or ordinance committed by or with the consent of the
               insured; or

           (4) For which the Insured has assumed liability in a contractor agreement. This exclusion does not applyto
               liability for damages that the insured would have in the absence of the contract or agreement.

     b.    "Advertising injury" arising out of:

           (1) Breach of contract, other than misappropriation of advertising ideas under an implied contract;

           (2) The failure of goods, products or services to conform with advertised quality or performance;

           (3) The wrong description of the price of goods, products or services; or

           (4) An offense committed by an insured whose business is advertising, broadcasting, publishing or
               telecasting.

COVERAGE C. MEDICAL PAYMENTS

1.   Insuring Agreement

     a.    We will pay medical expenses as described below for 'bodily injury" caused by an accident:

           (1) On premises you own or rent;

           (2) On ways next to premises you own or rent; or

           (3) Because of your operations;

           provided that:

           (1) The accident takes place in the "coverage territory" and during the policy period;

           (2) The expenses are incurred and reported to us within one year of the date of the accident; and

           (3) The injured person submits to examination, at our expense, by physicians of our choice as often as we
               reasonably require.

     b.    We will make these payments regardless of fault. These payments will not exceed the applicable limit of
           insurance. We will pay reasonable expenses for:
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           (1) First aid administered at the time of an accident;

           (2) Necessary medical, surgical, x-ray and dental services, including prosthetic devices; and

           (3) Necessary ambulance, hospital, professional nursing and funeral services.

2    Exclusions

     We will not pay expenses for bodily injury:

     a.    To any insured

     b.    To a person hired to do work for or on behalf of any insured or a tenant of any insured.

     c.    To a person injured on that part of premises you own or rent that the person normally occupies.

     d.    To a person, whether or not an'employee" of any Insured, if benefits for the "bodily injury" are payable or must
           be provided under a workers compensation or disability benefits law or a similar law.

     e.    To a person injured while taking part in athletics.

     f.    Included within the "products-completed operations hazard?

     g.    Excluded under Coverage A.

     h.    Due to war, whether or not declared, or any act or condition incident to war. War includes civil war, insurrection,
           rebellion or revolution,

SUPPLEMENTARY PAYMENTS - COVERAGES AAND B

We will pay, with respect to any claim or "suit" we defend:

     All expenses we incur.

2.   Up to $250 for cost of bail bonds required because of accidents or traffic law violations arising out of the use of any
     vehicle to which the Bodily Injury Liability Coverage applies. We do not have to furnish these bonds.

3.   The cost of bonds to release attachments, but only for bond amounts within the applicable limit of insurance. We do
     not have to furnish these bonds.

4.   All reasonable expenses Incurred by the Insured at our request to assist us In the investigation or defense of the
     claim or "suit", Including actual loss of earnings up to $100 a day because of time off from work.

5.   All costs taxed against the insured in the "suit."

6.   Prejudgment interest awarded against the insured on that part of the judgment we pay. If we make an offer to pay
     the applicable limit of insurance, we will not pay any prejudgment interest based on that period of lime after the offer.

7.   All interest on the full amount of any judgment that accrues after entry of the judgment and before we have paid,
     offered to pay, or deposited in court the part of the judgment that is within the applicable limit of insurance.

These payments will not reduce the limits of insurance.

SECTION II- WHO IS AN INSURED

     If you are designated in the Declarations as:

     a.    An individual, you and your spouse are insureds, but only with respect to the conduct of a business of which
           you are the sole owner.


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           A partnership or Joint venture, you are an insured. Your members, your partners, and their spouses are also
           insureds, but only with respect to the conduct of your business.

     C.    An organization other than a partnership or joint venture, YOU are an Insured. Your "executive officers" and
           directors are insureds, but only with respect to their duties as your officers or directors. Your stockholders are
           also insureds, but only with respect to their liability as stockholders.

2.   Each of the following Is also an Insured:

     a.    Your 'employees," other than your "executive officers," but only for acts within the scope of their employment -.
           by you or while performing duties related to the conduct of your business. However, no "employee" is an
           insured for:

           (1)   'Bodily injury" or "personal injury":

                 (a) To you, to your partners or members (If you are a partnership or Joint venture), or to a co-
                     "employee" while in the course of his or her employment or while performing duties related to the
                     conduct of your business;

                 (b) To the spouse, child, parent, brother or sister of that co-"employee' as a consequence of paragraph
                     (1)(a) above;

                 (c) For which there is any obligation to share damages with or repay someone else who must pay
                     damages because of the Injury described in paragraphs (1)(a) or (b) above; or

                 (d) Arising out of his or her providing or failing to provide professional health care services.

           (2)   "Property damage" to property:

                 (a) Owned, occupied or used by,

                 (b) Rented to, in the care, custody or control of, or over which physical control is being exercised for any
                     purpose by

                 you, any of your "employees" or, if you area partnership or joint venture, by any partner or member.

           Any person (other than your "employee"), or any organization white acting as your real estate manager.

     C.    Any person or organization having proper temporary custody of your property if you die, but only:

           (1) With respect to liability arising out of the maintenance or use of that property; and

           (2) Until your legal representative has been appointed.

     d.    Your legal representative if you die, but only with respect to duties as such. That representative will have all
           your rights and duties under this Coverage Part.

3.   With respect to "mobile equipment" registered in your name under any motor vehicle registration law, any person is
     an insured while driving such equipment along a public highway with your permission. Any other person or
     organization responsible for the conduct of such person is also an insured, but only with respect to liability arising out
     of the operation of the equipment, and only if no other insurance of any kind is available to that person or organization
     for this liability. However, no person or organization is an insured with respect to:

     a.    "Bodily injury" to a co-employee" of the person driving the equipment; or

     b.    "Property damage" to property owned by, rented to, in the charge of or occupied by you or the employer of any
           person who is an insured under this provision.




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4.   Any organization you newly acquire or form, other than a partnership or joint venture, and over which you maintain
     ownership or majority interest, will qualify as a Named Insured if there is no other similar insurance available to that
     organization. However:

            Coverage under this provision is afforded only until the 901h day after you acquire or form the organization or
            the end of the policy period, whichever is earlier;

            Coverage A does not apply to "bodily injury" or "property damage" that occurred before you acquired or formed
            the organization; and

     C.     Coverage B does not apply to "personal injury" or "advertising injury" arising out of an offense committed before
            you acquired or formed the organization.

     No person or organization Is an insured with respect to the conduct of any current or past partnership or joint venture
     that is not shown as Named Insured In the Declarations.

SECTION Ill - LIMITS OF INSURANCE

1.   The Limits of Insurance shown In the Declarations and the rules below fix the most we will pay regardless of the
     number of:

            Insureds;

     b.     Claims made or "suits" brought; or

     c.     Persons or organizations making claims or bringing "suits."

2.   The General Aggregate Limit is the most we will pay for the sum of:

     a.     Medical expenses under Coverage C;

     b.    Damages under Coverage A, except damages because of "bodily injury" or "property damage" included in the
           "products-completed operations hazard"; and

     C.     Damages under Coverage B.

3.   The Products-Completed Operations Aggregate Limit Is the most we will pay under Coverage A for damages
     because of "bodily injury" and "property damage" included in the "products-completed operations hazard,"

4.   Subject to 2. above, the Personal and Advertising Injury Limit is the most we will pay under Coverage B for the sum
     of all damages because of all "personal injury' and all "advertising injury" sustained by any one person or
     organization.

5.   Subject to 2. or 3. above, whichever applies, the Each Occurrence Limit is the most we will pay for the sum of:

     a.    Damages under Coverage A; and

           Medical expenses under Coverage C

     because of all "bodily injury" and "property damage" arising out of any one "occurrence."

6.   Subject to 5. above, the Fire Damage Limit is the most we will pay under Coverage A for damages because of
     "property damage" to premises, while rented to you or temporarily occupied by you with permission of the owner,
     arising out of any one fire.

7.   Subject to 5. above, the Medical Expense Limit is the most we will pay under Coverage C for all medical expenses
     because of "bodily injury" sustained by any one person.

The Limits of Insuranqe of this Coverage Part apply separately to each consecutive annual period and to any remaining
period of less than 12 months, starting with the beginning of the policy period shown in the Declarations, unless the policy

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period of less than 12 months. In that case, the additional period will be deemed part of the last preceding period for
purposes of determining the Limits of Insurance.

SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS

1. Bankruptcy

     Bankruptcy or insolvency of the Insured or of the insured's estate will not relieve us of our obligations under this
     Coverage Part.

2.   Duties In The Event Of Occurrence, Offense, Claim Or Suit

     a.    You must see to it that we are notified as soon as practicable of an "occurrence" or an offense which may result
           in a claim. To the extent possible, notice should Include:

           (1) How, when and where the "occurrence" or offense took place;

           (2) The names and addresses of any injured persons and witnesses; and

           (3) The nature and location of any injury or damage arising out of the "occurrence" or offense.

     b.    If a claim is made or "suit" Is brought against any insured, you must:

           (1) Immediately record the specifics of the claim or suit' and the date received; and

           (2) Notify us as soon as practicable.

           You must see to it that we receive written notice of the claim or"suit" as soon as practicable.

     c.    You and any other involved insured must:

           (1) Immediately send us copies of any demands, notices, summonses or legal papers received in connection
               with the claim or "suit';

           (2) Authorize us to obtain records and other information;

           (3) Cooperate with us in the investigation, settlement or defense of the claim or "suit; and

           (4) Assist us, upon our request, in the enforcement of any right against any person or organization which may
               be liable to the insured because of injury or damage to which this insurance may also apply.

     d.    No insureds will, except at their own cost, voluntarily make a payment, assume any obligation, or incur any
           expense, other than for first aid, without our consent.

3.   Legal Action Against Us

     No person or organization has a right under this Coverage Part:

     a.    To join us as a part or otherwise bring us Into a suit asking for damages from an insured; or

     b.    To sue us on this Coverage Part unless all of its terms have been fully complied with.

     A person or organization may sue us to recover on an agreed settlement or on a final judgment against an insured
     obtained after an actual trial; but we will not be liable for damages that are not payable under the terms of this
     Coverage Part or that are in excess of the applicable limit of insurance. An agreed settlement means a settlement
     and release of liability signed by us, the insured and the claimant or the claimant's legal representative.

4.   Other Insurance



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     if other valid and collectible insurance is available to the insured for a loss we cover under Coverages A or B of this
     Coverage Part, our, obligations are limited as follows:

           Primary Insurance

           This insurance is primary except when b. below applies. if this insurance is primary, our obligations are not
           affected unless any of the other insurance is also primary. Then, we will share with all that other insurance by
           the method described in c. below.

     b.    Excess Insurance

           This insurance is excess over any of the other insurance, whether primary, excess, contingent or on any other
           basis;

           (1) That is Fire, Extended Coverage, Builder's Risk, Installation Risk or similar coverage for 'your work";

           (2) That is Fire insurance for premises rented to you; or

           (3) If the loss arises out of the maintenance or use of aircraft, 'autos' or watercraft to the extent not subject to
               Exclusion g. of Coverage A (Section 1).

           When this Insurance is excess, we will have no duty under Coverage A or Blo defend any claim or 'suit" that
           any other insurer has a duty to defend. If no other insurer defends, we will undertake to do so, but we will be
           entitled to the insured's rights against all those other Insurers.

           When this Insurance is excess over other insurance, we will pay only our share of the amount of the loss, if
           any, that exceeds the sum of:

           (1) The total amount that all such other Insurancewould pay for the toss In the absence of this insurance; and,

           (2) The total of all deductible and self-insured amounts under all that other insurance.

           We will share the remaining loss, if any, with any other insurance that is not described In this Excess Insurance
           provision and was not bought specifically to apply in excess of the Limits of Insurance shown in the Declarations
           of this Coverage Part.

     C.    Method of Sharing

           If all of the other insurance permits contribution by equal shares, we will follow this method also. Under this
           approach each insurer contributes equal amounts until it has paid its applicable limit of insurance or none of the
           loss remains, whichever comes first.

           If any of the other insurance does not permit contribution by equal shares, we will contribute by limits. Under
           this method, each insurer's share is based on the ratio of its applicable limit of insurance to the total applicable
           limits of insurance of all insurers.

5.   Premium Audit

     a.    We will compute all premiums for this Coverage Part in accordance with our rules and rates.

           Premium shown in this Coverage Part as advance premium is a deposit premium only. At the close of each
           audit period we will compute the earned premium for that period. Audit premiums are due and payable on
           notice to the first Named Insured. If the sum of the advance and audit premiums paid for the policy period is
           greater than the earned premium, we will return the excess to the first Named Insured.

     c.    The first Named Insured must keep records of the information we need for premium computation, and send uS
           copies at such times as we may request.

6    Representations


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     By accepting this policy, you agree:

     a      The statements in the Declarations are accurate and complete;

     b.     Those statements are based upon representations you made to us; and

     c.     We have issued this policy in reliance upon your representations.

7.   Separation Of Insureds

     Except with respect to the Limits of Insurance, and any rights or duties specifically assigned in this Coverage Part to
     the first Named Insured, this insurance applies:

     a.     As if each Named Insured were the only Named Insured; and

     b.     Separately to each insured against whom claim is made or 'suit" is brought.

8.   Transfer Of Rights Of Recovery Against Others To Us

     It the insured has rights to recover all or pad of any payment we have made under this Coverage Part, those rights
     are transferred to us. The insured must do nothing after loss to impair them. At our request, the insured will bring
      suit" or transfer those rights to us and help us enforce them.

9.   When We Do Not Renew

     If we decide not to renew this Coverage Part, we will mail or deliver to the first Named Insured shown In the
     Declarations written notIce of the nonrenewat not less than 30 days before the expiration date.

     If notice is mailed, proof of mailing will be sufficient proof of notice.




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SECTION V - DEFINITIONS

1.   "Advertising injury" means injury arising out of one or more of the following offenses:

      a.    Oral or written publication of material that slanders or libels a person or organization or disparages a person's or
            organization's goods, products or services;

     b.     Oral or written publication of material that violates a person's right of privacy;

     C.     Misappropriation of advertising ideas or style of doing business; or

     d.     Infringement of copyright title or slogan.

2.   "Auto" means a land motor vehicle, trailer or semitrailer designed for travel on public roads, including any attached
     machinery or equipment. But "auto" does not include "mobile equipment".

3.   'Bodily Injury" means bodily injury, sickness or disease sustained by a person, including death resulting from any of
     these at any time.

4.   "Coverage territory" means:

      a.    The United States of America (including its territories and possessions), Puerto Rico and Canada;

     b.     International waters or airspace, provided the injury or damage does not occur in the course of travel or
            transportation to or from any place not included in a. above; or

     c.     All parts of the world if:

            (1)   The injury or damage arises out of:

                  (a) Goods or products made or sold by you in the territory described in a. above; or

                  (b) The activities of a person whose home is in the territory described Ina. above, but is away for a short
                      time on your business; and

            (2)   The insured's responsibility to pay damages is determined in a "suit" on the merits, in the territory
                  described in a. above or in a settlement we agree to.

5.   "Employee" includes a "leased worker." 'Employee" does not include a 'temporary worker."

6.   "Executive officer" means a person holding any of the officer positions created by your charter, constitution, by-laws
     or any other similar governing document.

7.   impaired property" means tangible property, other than "your product" or "your work," that cannot be used or is less
     useful because:

     a.     It incorporates "your product" or "your work" that is known or thought to be defective, deficient, inadequate or
            dangers; or

     b.     You have failed to fulfill the terms of a contract or agreement;

     if such property can be restored to use by:

     a.     The repair, replacement, adjustment or removal of "your product" or "your work"; or

     b.     Your fulfilling the terms of the contract or agreement.




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B.   'Insured contract' means:

     a.    A contract for a lease of premises. However, that portion of the contract for a lease of premises that
           indemnifies any person or organization for damage by fire to premises while rented to you or temporarily
           occupied by you with permission of the owner is not an 'insured contract';

     b.    A sidetrack agreement;

     c.    Any easement or license agreement, except in connection with construction or demolition operations on or
           within 50 feet of a railroad;

     d.    An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
           municipality;

     e.    An elevator maintenance agreement;

     f.    That part of any other contract or agreement pertaining to your business (including an indemnification of a
           municipality in connection with work performed for a municipality) under which you assume the tort liability of
           another party to pay for 'bodily injury or 'property damage' to a third person or organization. Tort liability
           means a liability that would be imposed by law in the absence of any contractor agreement.

           Paragraph 1. does not include that part of any contract or agreement:

           (1) That indemnifies a railroad for 'bodily injury' or 'property damage' arising out of construction or demolition
               operations, within 50 feet of any railroad property and affecting any railroad bridge or trestle, tracks, road-
               beds, tunnel, underpass or crossing;

           (2)   That indemnities an architect, engineer or surveyor for injury or damage arising out of:

                 (a) Preparing, approving or failing to prepare or approve maps, drawings, opinions, reports, surveys,
                     change orders, designs or specifications; or

                 (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                     damage; or

           (3) Under which the Insured, if an architect, engineer or surveyor, assumes liability for an injury or damage
               arising out of the insured's rendering or failure to render professional services, including those listed in (2)
               above and supervisory, inspection or engineering services.

9.   'Leased worker' means a person leased to you by a labor leasing firm under an agreement between you and the
     labor leasing firm, to perform duties related to the conduct of your business. 'Leased worker' does not include a
     'temporary worker.'

10. "Loading or unloading means the handling of property:

     a.    After it is moved from the place where it is accepted for movement into or onto an aircraft, watercraft or 'auto';

     b.    White it is in or on an aircraft, watercraft or 'auto'; or

     C.    While it is being moved from an aircraft, watercraft or 'auto to the place where it is finally delivered;

     but 'loading or unloading' does not include the movement of property by means of a mechanical device, other than a
     hand truck, that is not attached to the aircraft, watercraft or 'auto"

11. 'Mobile equipment" means a land vehicle (including any machinery or apparatus attached thereto), whether or not
    self-propelled, which is:

     (1) not subject to motor vehicle registration, or

     (2) maintained for use exclusively on premises owned by or rented to you, including the ways immediately
         adjoining, or
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     (3) designed for use principally off public roads, or

     (4) designed or maintained for the sole purpose of affording mobility to equipment of the following types forming an
         integral part of or permanently attached to such vehicle: power cranes, shovels, loaders, diggers and drills;
         concrete mixers (other than the mix-in-transit type); graders, scrapers, rollers and other road construction or
         repair equipment; air-compressors, pumps and generators including spraying, welding and building cleaning
         equipment; and geophysical exploration and well servicing equipment.

12. "Occurrence" means an accident, including continuous or repeated exposure to substantially the same general
     harmful conditions.

13. "Personal injury" means Injury, other than "bodily injury," arising out of one or more of the following offenses:

     a.    False arrest, detention or imprisonment;

     b.    Malicious prosecution;

     o.    The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room, dwelling
           or premises that a person occupies by or on behalf of its owner, landlord or lessor;

     d.    Oral or written publication of material that slanders or libels a person or organization or disparages a person's or
           organization's goods, products or services; or

     e.    Oral or written publication of material that violates a person's right of privacy.

14. a.     "Products-completed operations hazard' includes all "bodily injury" and "property damage" occurring away from,
           premises you own or rent and arising out of "your product" or "your work" except:

           (1) Products that are still In your physical possession: or

           (2)   Work that has not yet been completed or abandoned,

     b.    "Your work" will be deemed completed at the earliest of the following times:

           (1) When all of the work called for in your contract has been completed.

           (2) When all of the work to be done at the site has been completed if your contract calls for work at more
               than one site.

           (3) When that part of the work done at a job site has been put to its intended use by any person or
               organization other than another contractor or subcontractor working on the same project.

                 Work that may need services, maintenance, correction, repair or replacement, but which is otherwise
                 complete, will be treated as completed.

           This hazard does not include "bodily injury" or "property damage' arising out of:

           (1)   The transportation of property, unless the injury or damage arises out of a condition in or on a vehicle
                 created by the 'loading or unloading" of it;

           (2) The existence of tools, uninstalled equipment or abandoned or unused materials; or

           (3) Products or Operations for which the classification in this Coverage Part or in our manual of rules includes
               products or completed operations.




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15. 'Property damage" means:

      a.    Physical injury to tangible property, Including all resulting loss of use of that property. All such loss of use will be
            deemed to occur at the time of the physical injury that caused II; or

      b.    Loss of use of tangible property that is not physically Injured. All such loss of use will be deemed to occur at the
            time of the 'occurrence' that caused it.

16. 'Suit" means a civil proceeding in which damages because of 'bodily injury,' 'property damage,' 'personal injury" or
    'advertising injury" to which this insurance applies are alleged. 'Suit" includes:

     a.     An arbitration proceeding in which such damages are claimed and to which you must submit or do submit with
            our consent; or

     b.     Any other alternative dispute resolution proceeding in which such damages are claimed and to which you
            submit with our consent.

17. 'Your product" means:

     a.     Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed of by:

            (1) You;

            (2)   Others trading under your name; or

            (3)   A person or organization whose business or assets you have acquired; and

     b.     Containers (other than vehicles), materials, parts or equipment furnished in connection with such goods or
            products.

     'Your product' Includes:

     a.     Warranties or representations made at any time with respect to the fitness, quality, durability, performance or
            use of 'your product'; and

     b.     The providing of or failure to provide warnings or instructions.

     'Your product" does not include vending machines or other property rented to or located for the use of others but not
     sold.

18. 'Temporary worker' means a person who is furnished to you to substitute for a permanent 'employee' on leave or to
    meet seasonal or short-term workload conditions.

19. 'Your work' means:

     a.     Work or operations performed by you or on your behalf; and

     b.     Materials, parts or equipment furnished in connection with such work or operations.

     "Your work" includes:

     a.     Warranties or representations made at any time with respect to the fitness, quality, durability, performance or
            use of 'your work"; and

     b.     The providing of or failure to provide warnings or instructions.




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          In
           s MMMe                                                                                                        UJL
                                                          CGO3000I 96
                                     DEDUCTIBLE LIABILITY INSURANCE
This endorsement modifies insurance provided under the following:
      COMMERCIAL GENERAL LIABILITY COVERAGE PART
      PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
This endorsement changes the policy effective on the Inception date of the policy unless another date is indicated below.
 Endorsement effective                                                        Policy No.
                                         12:01 A.M. standard time
 Named Insured                                                                Countersigned by

                                                                                                               ('umonzeo I'epresentauve)

                                                            SCHEDULE
           Coverage                                                              Amount and Basis of Deductible
                                                                           PER CLAIM     or       PER OCCURRENCE
           Bodily Injury Liability                                         $(NIA)                             $(N/A)
                       OR
           Property Damage Liability                                       $(N/A)                             $(N/A)
                       OR
           Bodily Injury Liability and/or                      $(N!A)                     $5,000
           Property Damage Liability Combined
(If no entry appears above, information required to complete this endorsement will be shown in the Declarations as
applicable to this endorsement.)
APPLICATION OF ENDORSEMENT (Enter below any limitations on the application of this endorsement. If no
limitation is entered, the deductibles apply to damages for all 'bodily injury' and "property damage", however caused):

      Our obligation under the Bodily Injury Liability and                              (2)   Under Property Damage Liability;
      Property Damage Liability Coverages to pay                                              Coverage, to all damages sustained by
      damages on your behalf applies only to the                                              any one person because of "property
      amount of damages in excess of any deductible                                           damage"; or
      amounts - staled in the Schedule above as
      applicable to such coverages.                                                     (3)   Under Bodily Injury Liability and/or
                                                                                              Property Damage Liability Coverage
2. You may select a deductible amount on either a                                             Combined, to all damages sustained by
     per claim or a per occurrence" basis. Your                                               any one person because of:
     selected deductible applies to the coverage option
     and to the basis of the deductible indicated by the                                      (a)   "Bodily Injury";
     placement of the deductible amount In the
     Schedule above. The deductible amount stated In                                          (b)   'Property damage"; or
     the Schedule above applies as follows:
                                                                                              (c) 'Bodily injury" and "property
     a.    PER CLAIM BASIS.           If the deductible                                            damage" combined
           amount indicated in the Schedule above is on
           a per claim basis, that deductible applies as                            as the result of any one 'occurrence".
           follows:
                                                                                    If damages are claimed for care, loss of
           (1)   Under Bodily Injury Liability Coverage,                            services or death resulting at any lime from
                 to all damages sustained by any one                                "bodily injuy, a separate deductible amount
                 person because of 'bodily injury";                                 will be applied to each person making a claim
                                                                                    for such damages.


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            With respect to property damage, person                                         (c) 'Bodily injury and property
            includes an organization.                                                            damaged combined

      b.    PER OCCURRENCE BASIS,                 If the                               as the result of any one'occurrence",
            deductible amount indicated in the Schedule                                regardless of the number of persons or
            above is on a per occurrence" basis, that                                  organizations who sustain damages because
            deductible amount applies as follows:                                      of that occurrence'.

            (1) Under Bodily Injury Liability Coverage,                3.     The terms of this insurance, including those with
                to all damages because of'bodily                              respect to:
                injury";
                                                                              (a) Our right and duty to defend any suits"
            (2) Under Property Damage Liability                                   seeking those damages; and
                Coverage, to all damages because of
                property damage'; or                                          (b) Your duties in the event of an 'occurrence,
                                                                                  claim, or 'suit'
            (3) Under Bodily Injury Liability and/or
                Property Damage Liability Coverage                            apply irrespective of the application of the
                Combined, to all damages because of:                          deductible amount.

                 (a)    Bodily injury";                                4. We may pay any part or all of the deductible
                                                                           amount to effect settlement of any claim or 'suit'
                 (b)   Property damage; or                                 and, upon notification of the action taken, you shall
                                                                           promptly reimburse us for such part of the
                                                                           deductible amount as has been paid by us.




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kVt
  lNorthland
    Insurance Companies
                                                                 THIS ENDORSEMENT CHANGES THE POLICY.
                                                                        PLEASE READ IT CAREFULLY.



 This endorsement is EFFECTIVE          January 31, 1999               *and is part of Policy Number: NN100227

*issued to: Wagner Oil Company

*Entry optional if shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement
Is the same as the effective date of the policy.




This endorsement modifies insurance provided under the following:

                                           ALL COVERAGE PARTS IN THIS POLICY


This policy is subject to a minimum earned premium.

If this policy is canceled at your request, you agree with us:

1.   That the minimum earned premium for this policy is the greater of $1000 or 25% of the Total Premium;

2.   That such minimum earned premium Is not subject to short rate or pro-rate adjustment; and

3.   That cancellation for non-payment of premium, after the effective date of the policy, shall be deemed a request by
     you for cancellation of this policy and will activate this minimum earned premium provision.




All other terms and conditions remain unchanged.




                                                                 BY:




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                               CANCELLATION BY US

This endorsement modifies insurance provided under the following:

          COMMERCIAL GENERAL LIABILITY COVERAGE PART
          LIQUOR LIABILITY COVERAGE PART
          POLLUTION LIABILITY COVERAGE PART
          PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                                SCHEDULE

Number of Days 60

(If no entry appears above, information required to complete this Schedule will be shown in the
Declarations as applicable to this endorsement).


Paragraph 2. of CANCELLATION (Common Policy Conditions) Is replaced by the following:

2.   We may cancel this Coverage Part by mailing or delivering to the first Named Insured written notice
     of cancellation at least:

     a.    10 days before the effective date of cancellation if we cancel for nonpayment of premium; or

     b.    The number of days shown in the Schedule before the effective date of cancellation if we
           cancel for any other reason.




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               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      EMPLOYMENT-RELATED PRACTICES EXCLUSION

This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART

A.   The following . exclusion is added to paragraph                   B.     The following exclusion is added to paragraph 2.,
     2., Exclusions of COVERAGE A - BODILY                                    Exclusions of COVERAGE B - PERSONAL AND
     INJURY AND PROPERTY DAMAGE LIABILITY                                     ADVERTISING INJURY LIABILITY (Section 1
     (Section I - Coverages):                                               . Coverages):
     This insurance does not apply to:                                        This insurance does not apply to:
     "Bodily Injury" to:                                                      "Personal injury" to:
     (1)   A person arising out of any:                                       (1)      A person arising out of any:
           (a) Refusal to employ that person;                                          (a) Refusal to employ that person;
           (b) Termination of that person's                                            (b) Termination of that person's employ-
               employment; or                                                              ment; or
           (c) Employment-related practices, policies,                                 (c) Employment-related practices, policies,
               acts or omissions, such as coercion,                                        acts or omissions, such as coercion,
               demotion, evaluation, reassignment,                                         demotion, evaluation, reassignment,
               discipline, defamation, harassment,                                         discipline, defamation, harassment,
               humiliation or discrimination directed at                                   humiliation or discrimination directed at
               that person; or                                                             that person; or
     (2) The spouse, child, parent, brother or sister                         (2) The spouse, child, parent, brother or sister
          of that person as a consequence of "bodily                               of that person as a consequence of
          injury'1 to that person at whom any of the                               "personal injury" to that person at whom any
          employment-related practices described in                                of the employment-related practices
          paragraphs (a), (b) or (C) above is directed.                            described in paragraphs (a), (b) or (c) above
                                                                                   is directed.
     This exclusion applies:
                                                                              This exclusion applies:
     (1) Whether the insured may be liable as an
         employer or in any other capacity; and                               (1) Whether the insured may be liable as an
                                                                                  employer or in any other capacity; and
     (2) To any obligation to share damages with or
         repay someone else who must pay                                      (2) To any obligation to share damages with or
         damages because of the injury.                                           repay someone else who must pay
                                                                                  damages because of the injury.




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   l Northland
      Insurance Companies
                                                                 THIS ENDORSEMENT CHANGES THE POLICY.
                                                                        PLEASE READ IT CAREFULLY.



  This endorsement is EFFECTIVE          January 31, 1999               and is part of Policy Number: NN100227
 *issued to: Wagner Oil Company

 *Entry optional if shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement
 is the same as the effective date of the policy,

                                 LIMITATION OF COVERAGE TO DESIGNATED
                                          PREMISES OR PROJECT

This endorsement modifies insurance provided under the following:

                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                            SCHEDULE
Premises:




Project: ANY OPERATION(S) CONTEMPLATED BY THE STATISTICAL CODES SHOWN IN THE ADJUSTABLE
          RATE ENDORSEMENT ON THE POLICY AT INCEPTION OR ADDED BY ENDORSEMENT(S). COVERAGE
          IS LIMITED TO THOSE OPERATIONS IDENTIFIED ON THE ADJUSTABLE RATE ENDORSEMENT,
          HOWEVER, COVERAGE WILL ALSO APPLY TO ANCILLARY OR INCIDENTAL OIL AND/OR GAS
          OPERATIONS WHETHER SUCH OPERATIONS ARE CLASSIFIED OR NOT.

            COVERAGE PROVIDED IN SECTION lI-WHO IS AN INSURED, PARAGRAPH 4. IS NOT AFFECTED BY
            APPLICATION OF THIS ENDORSEMENT.

(If no entry appears above, information required to complete this endorsement will be shown in the Declarations as
applicable to this endorsement.)


This insurance applies only to bodily injury," property damage," "personal injury," "advertising injury" and medical
expenses arising out of:

    The ownership, maintenance or use of the premises shown in the Schedule and operations necessary or Incidental to
    those premises; or

2, The project shown in the Schedule.


All other terms and conditions remain unchanged.


                                                                 WA



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           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                     CO 22 57 01 96


                 EXCLUSION - UNDERGROUND RESOURCES
                            AND EQUIPMENT
This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                       SCHEDULE

Description of Operations:
Gasoline Recovery from casing head or natural gas
Oil or Gas Lease Operations - natural gas
Oil or Gas Lease Operations - natural gas - within the limits of any town or City, on the right-of-way of
 any railroad, or in any ocean, gulf or bay
Oil or Gas Wells - cleaning or swabbing by contractors
Oil or Gas Wells - cleaning or swabbing by contractors - within the limits of any town or city, on the
 right-of-way of any railroad, or in any ocean, gulf or bay
Oil or Gas Wells - drilling or redrilting, installation or recovery of casing
Oil or Gas Wells - drilling or redrilling, installation or recovery of casing - within the limits of any town or
 city, on the right-of-way of any railroad
Oil or Gas Wells - non-operating working interest
Oil or Gas Wells - servicing - by contractors
Oil or Gas Wells - shooting

With respect to operations shown In the Schedule                    B. The following definition is added to the
                                                                        DEFINITIONS Section:
A.    The following exclusions are added to Section
        - COVERAGES (BODILY INJURY AND                                     'Underground resources and equipment
      PROPERTY DAMAGE LIABILITY):                                          hazard' Includes 'property damage to any of
                                                                           the following:
      This insurance does not apply to:
                                                                           1. Oil, gas, water, or other mineral
           Property damage' included within the
                                                                              substances which have not been
            underground resources and equip-ment
                                                                              reduced to physical possession above
           hazard'; or                                                        the surface of the earth or above the
      2. The cost of reducing any property                                    surface of any body of water;
          included within the 'underground                                 2.       Any well, hole, formation, strata, or area
          resources and equipment hazard' to                                        in or through which exploration for or
          physical possession above the surface of
                                                                                    production of any substance is carried
          the earth or of any body of water, or to
                                                                                    on; or
          the expense incurred or rendered
          necessary to prevent or minimize                                 3.       Any casing, pipe, bit, tool, pump, or other
          'property damage' to other property                                       drilling or well servicing machinery or
          resulting from acts or omissions causing                                  equipment located beneath the surface
           property damage' included within the                                     of the earth in any such well or hole or
          'underground resources and equipment                                      beneath the surface of any body of water.
          hazard'.




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                                                                   THIS ENDORSEMENT CHANGES THE POLICY.
& Northland                                                               PLEASE READ IT CAREFULLY.
           Insurance Companies

*This endorsement is EFFECTIVE            January 31, 1999               *and is part of Policy Number: NNI 00227

Issued to: Wagner Oil Company

*Entry optional if shown in the Policy Declarations, If no entry is shown, the effective date of the endorsement is the same as t1
effective date of the policy.




This endorsement modifies insurance provided under the following, and as respects the Underground Resources &
Equipment Hazard only, supersedes the Underground Resources & Equipment Exclusion endorsement, Exclusion 1.
Pollution and any Pollution endorsement which may be attached to this policy:


                                   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                          SCHEDULE

Underground Resources & Equipment Hazard Property Damage                                $1,000,000 Aggregate Limit

Description of Operations:

Gasoline Recovery - From casing head or natural gas
Oil or Gas Lease Operations - natural gas
Oil or Gas Lease Operations - natural gas - within the limits of any town or city, on the right-of-way of
 any railroad, or in any ocean, gulf or bay
Oil or Gas Wells cleaning or swabbing by contractors                                                                                     a
Oil or Gas Wells - cleaning or swabbing by contractors - within the limits of any town or city, on the
 right-of-way of any railroad, or in any ocean, gulf or bay
Oil or Gas Wells - drilling or redrilling, installation or recovery of casing
Oil or Gas Wells - drilling or redrilling, Installation or recovery of casing - within the limits of any town
 or city, on the right-of-way of any railroad
Oil or Gas Wells - servicing - by contractors
Oil or Gas Wells - non-operating Interest
011 or Gas Wells - shooting

This insurance applies to 'property damage" included within the "underground resources & equipment hazard"
arising out of the operations performed by you or on your behalf and described In this endorsement:

1. With respect to "property damage' included within the "underground resources & equipment hazard" the
    following is added to LIMITS OF INSURANCE (Section III):

     8. Subject to 5. above, the Underground Resources & Equipment Property Damage Aggregate Limit shown
         in the Schedule or in the Declarations as subject to this endorsement is the most we will pay under
         Coverage A for the sum of damages because of all "property damage" included within the 'underground
         resources & equipment hazard'




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2.   The following exclusions are added to COVERAGE A (Section I): This insurance does not apply to:

           Any costs or expense incurred by you or at your request or by or at the request of any "co-owner of the
           working interest' in connection with controlling or bringing under control any oil, gas or water well;

     b.    Damages claimed by any "co-owner of the working interest."

3.   The following additional definitions apply:

     "Underground resources & equipment hazard" includes "property damage" to any of the following:

     a.    Oil, gas, water or other mineral substances which have not been reduced to physical possession above
           the surface of the earth or above the surface of any body of water;

     b.    Any well, hole, formation, strata or area in or through which exploration for or production of any
           substance is carried on;

     C.    Any casing, pipe, bit, tool, pump or other drilling or well servicing machinery or equipment located
           beneath the surface of the earth in any such well or hole or beneath the surface of any body of water.

     "Co-owner of the working interest" means any person or organization who is, with you, a co-owner, joint
     venturer or mining partner in mineral properties who:

           Participates in the operating expense of such properties; or

     b.    Has the right to participate in the control, development or operation of such properties.

     Upon the "occurrence" of a blow-out or cratering of any oil, gas or water well resulting from or in connection
     with operations performed by you or on your behalf, you agree that you will at your own cost and expense,
     promptly and diligently take whatever steps are necessary or legally required of you or necessary for you or
     any other person to bring such well under control.

     If you delay or fail to comply with this agreement, we will not be liable for any "property damage" included
     within the "underground resources & equipment hazard" resulting from the blow-out or cratering of any such
     well.




All other terms and conditions remain unchanged.




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                                                                   THIS ENDORSEMENT CFIANGES THE POLICY.
 & Northland                                                              PLEASE READ IT CAREFULLY.
           Insurance Companies

'This endorsement is EFFECTIVE            January 31, 1999                *and is part of Policy Number: NN1 00227

'Issued to: Wagner Oil Company

'Entry optional if shown in the Policy Declarations, if no entry is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                                 OIL INDUSTRY AMENDATORY ENDORSEMENT

This endorsement modifies insurance provided under the following:

                     COMMERCIAL GENERAL LIABILITY COVERAGE PART - ALL CLASS CODES


Notwithstanding anything to the contrary contained in this policy, it is hereby understood and agreed that this policy will not
apply to:

1.   LOSS OF HOLE

     Liability for loss of or damage to any well or hole being drilled by you or on your behalf and/or any well or hole which
     is in your care, custody or control or for which you are or may be responsible, and any cost or expense incurred in
     redrilling or restoring the well or hole or any substitute well or hole.

2.   IN-HOLE EQUIPMENT

     Liability for loss of or damage to any drilling tool, pipe, collar, casing, bit, pump, drilling or well servicing machinery, or
     any other equipment, including fishing costs, white below the surface of the earth in any well or hole being drilled by
     you or on your behalf and/or in any well or hole which is in your care, custody or control or for which you are or may
     be responsible.

     "Fishing costs' mean any cost or expense incurred to recover from a well, any equipment, including but not limited to:
     drill bits, drill collars, drill pipe, packers, liners, screen pipe, etc.

3.   COST OF CONTROL

     Liability for costs or expenses incurred in:

     a.    Controlling or bringing under control any wells or holes, or

     b.   Extinguishing fire in or from any such wells or holes, or

     C.   Drilling relief wells or holes, whether or not the relief wells or holes are successful.

     It is further understood and agreed that when any insured is an operator or a non-operator as described in the
     applicable operating agreement, this exclusion shall only apply to an "occurrence' which causes loss to any well (s)
     and/or holes in which you have a working interest. If, however, any insured is not an operator or non-operator as
     defined in the applicable operating agreement this qualifying paragraph shall not apply.




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 4.    SUBSIDENCE

      Loss of, damage to or loss of use of property directly or indirectly resulting from subsidence caused by any insured's
      subsurface operations.

 5.   CO-OWNER

      This insurance does not apply to any liability damages claimed by any "co-owner of the working interest'.

      "Co-owner of the working interest' means any person or organization who Is, with you, a co-owner, joint venturer or,
      mining partner in mineral properties who:

      a.    Participates in the operating expense of such properties; or

      b.    Has the right to participate in the control, development or operation of such properties.

      However, It is further understood and agreed that the preceding paragraph shall not under any circumstances be
      construed to exclude coverage for the liability of co-venturers, partners or co-owners for which you are responsible to
      provide insurance as respects third parties who are not insureds under this policy, as defined,

8.    EXCLUSION - LEAD

      This Insurance does not apply to:

      a. "Bodily injury," "property damage," "advertising Injury," "personal injury," or medical expense arising out of lead or
         the hazardous properties of lead.

      b. Any damages for remedial investigations or feasibility studies or the costs of testing, monitoring, abatement,
         mitigation, cleaning, removal or disposal of lead or any item(s) containing lead.

      c. Any damages arising out of any supervision, instructions, recommendations, requests, warnings, or advice given
         or which should have been given in connection with b. above.

      d. Any obligation to share damages with or repay someone else who must pay damages in connection with a., b., 8'r-
                                                                                                                      r
         c. above.




All other terms and conditions remain unchanged.




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                                                                   THIS ENDORSEMENT CHANGES THE POLICY.
           Northland                                                      PLEASE READ IT CAREFULLY.
               hi.surance Companies

"This endorsement is EFFECTIVE              January 31, 1990              'and is part of Policy Number: NN100227

"issued to: Wagner Oil Company

'Entry optional If shown in the Policy Declarations. if no entry is shown, the effective date of the endorsement
Is the same as the effective date of the policy.




This endorsement modifies insurance provided under the following:

                         COMMERCIAL GENERAL LIABILITY COVERAGE PART - ALL CLASS CODES


Effective at inception and in consideration of the premium charged, it is understood and agreed that SECTION I
COVERAGE A., Paragraph 2. Exclusions, sub-paragraph f. Pollution is deleted in its entirety and replaced with the
following:

f.   Pollution

     'Bodily injury', "property damage', 'personal injury', loss of, damage to or loss of use of property, or any other form of
     liability or damages to which any insured may be subject arising out of the actual, alleged, or threatened discharge,
     dispersal, release, seepage, migration or escape of pollutants at any time at any location by whomsoever caused;

The above exclusion as well as SECTION 1 COVERAGE A., paragraph 2. Exclusions, sub-paragraph j.(1), and J.(5) do not
apply to 'bodily injury", 'property damag&, or "personal injury" if such discharge, dispersal, release or escape meets all -
five of the following conditions:

               (i)   The discharge, dispersal, release or escape must be an accident which was not intended by any insured.
                     However, this condition would not serve to deny coverage for a specific incident where such discharge,
                     dispersal, release or escape of pollutants was a result of an attempt by any Insured to mitigate or avoid a
                     situation where third party 'bodily injury", 'property damage", or "personal injury" could occur; and

           (ii) The beginning of the discharge, dispersal, release or escape must take place during the policy period
                  specified in the Declarations; and

           (iii) The discharge, dispersal, release or escape did not result from your willful violation of any government
                  statute, rule or regulation; and

           (iv) The discharge, dispersal, release or escape must become known to you within:

                     (a) 180 days of its commencement if you are acting as a non-operator, as designated in the applicable
                         operating agreement; or

                     (b) 90 days of its commencement if you are acting as an operator, as designated in the applicable
                         operating agreement; or

                     (c) 30 days of its commencement if you are acting as anything other than an operator or non-operator,
                         as designated in the applicable operating agreement; and

         (v)     The discharge, dispersal, release or escape must be reported in writing to us as soon as practicable, but not
                 longer than 90 days from the date of discovery by you.
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            For purposes of complying with the requirements of this paragraph, notice to us by any Insured constitutes
            notice by all insureds.

If any such actual, alleged or threatened discharge, dispersal, release or escape of pollutants results from a well out of
control, as defined herein, coverage provided by this endorsement will always apply excess of the limits provided under an
insured's control of well policy, as applicable.

Nothing contained in this endorsement shall operate to provide any coverage with respect to:

(1)   Any loss, cost or expense arising out of any request, demand or order, including demands, directives, complaints,
      suits, orders, or requests brought by any governmental entity or any person, entity or group of persons or entities,
      that any insured or any person or entity for whom any insured may be legally responsible, to test for, assess,
      monitor, clean up, remove, contain, treat, or detoxify, neutralize or any way respond to or assess the effects of any
      pollutants resulting from:

            (i)    Waste or disposal sites which were, or currently are, owned, operated, or used by any insured, or were th
                   currently are utilized by others acting for any insured and/or on any Insured's behalf, This exclusion (I)
                   shalt not apply with regard to saltwater disposal operations;

            (ii)   Disposal or dumping at any such waste or disposal site(s) of any seeping and/or polluting and/or
                   contaminating substances or materials or waste substance(s) or waste material(s) of whatsoever nature.
                   This exclusion (ii) shall not apply with regard to saltwater disposal operations;

            (iii) Conveyancing, carriage or transportation to or from such waste or disposal site(s) of any seeping and/or
                  polluting and/or contaminating substances or materials or waste substance(s) or waste material(s) of
                  whatsoever nature. This exclusion (iii) shall not apply with regard to saltwater disposal operations; and,

            For purposes of this endorsement, mud pits are not considered a waste or disposal site.

(2) Fines, or penalties which result directly from any willful violation or non-compliance with any current rule, regulation or
    law applicable at the time of loss.

(3) Removal of, loss of, or damage to subsurface oil, gas or any other substance or material(s).

(4) Any voluntary or mandated loss, costs, or expense arising from past or present operations performedat sites
    appearing on the "National Priorities List of Superfund Sites."

For purposes of this Endorsement the following definitions apply:

        'Pollutants' means any solid, liquid, gaseous or thermal irritant, contaminant or waste, including but not limited to
        saline, saltwater, smoke, vapors, soot, dust, fumes, acids, alkalis and chemicals. Waste includes any materials
        which are intended to be recycled, reconditioned or reclaimed, regardless of whether the waste has the effect of
        making something Impure or hazardous.

        "Well" means a borehole sunk into the earth for the purpose of obtaining hydrocarbons and/or steam and/or
        sulphur and shall also include boreholes used for disposal of salt water or for injection of water or gas; including
        structural components and integral equipment therein from the bottom of the borehole through the casinghead or
        wellhead assembly.




        "Well out of control' means an unintended and unexpected flow or expulsion from the "well(s)' of drilling fluid, oil,
        gas and/or water, above or below the surface of the ground (or waterbottom in case of a well located in water) or
        when the "Well(s)' is declared to be out of control by the appropriate U.S. or Canadian regulatory authority which
        has jurisdiction over such "well(s)".



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All other terms and conditions remain unchanged.




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      '      Northland
             Insurance Companies
                                                                 THIS ENDORSEMENT CHANGES THE POLICY.
                                                                        PLEASE READ IT CAREFULLY.



 *This endorsement is EFFECTIVE          January 31, 1999              *and is part of Policy Number: NN100227

 Issued to: Wagner Oil Company

 *Entry optional if shown in the Policy Declarations. If no entry is shown, the effective dale of the endorsement
 is the same as the effective date of the policy.

                                  EXCLUSION - ENGINEERS, ARCHITECTS OR
                                   SURVEYORS PROFESSIONAL LIABILITY

 This endorsement modifies insurance provided under the following:

                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART

This Insurance does not apply to "bodily Injury," "property damage," "personal injury" or advertising injury" arising out of
the rendering or failure to render any professional services any insured performs for others and does not apply to others
for the rendering or failure to render any professional services for any insured, including:

1. The preparing, approving, or failing to prepare or approve maps, drawings, opinions, reports, surveys, change orders
   designs or specifications; and

2. Supervisory, inspection or engineering services.

However, this exclusion shall not apply to liability arising out of any insured's obligation as an operator or owner of
financial interests in oil and gas properties.




All other terms and conditions remain unchanged.




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                                                                THIS ENDORSEMENT CHANGES THE POLICY.
            Northland                                                  PLEASE READ IT CAREFULLY.
            Insurance Companies

*This endorsement is EFFECTIVE          January31, I 990              'and is part of Policy Number: NN100227

'issued to: Wagner Oil Company

'Entry optional if shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                           CHANGES TO TRANSFER OF RIGHTS OF RECOVERY

This endorsement modifies insurance provided under the following:

                                 COMMERCIAL GENERAL LIABILITY COVERAGE PART


Effective at inception and in consideration of the premium charged, it is understood and agreed that the following wording
is added to SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS, Paragraph 8. Transfer of Rights of
Recovery Against Others to Us:

      It is agreed that in the event of any payment under the terms of this policy, we waive our rights of subrogation as
      respects the Insured's right of recovery against parties requiring such waiver under a contract with the insured
      provided such waiver predated any claim under this insurance.




All other terms and conditions remain unchanged.




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                                                                THIS ENDORSEMENT CHANGES THE POLICY.
                                                                       PLEASE READ IT CAREFULLY.



 'This endorsement is EFFECTIVE         January 31, 1999              *and is part of Policy Number: NN100227
                                                                                                                             ffl
Issued to: Wagner Oil Company

*Entry optional if shown in the Policy Declarations, if no entry is shown, the effective date of the endorsement
Is the same as the effective date of the policy.

                                    ADDITIONAL INSURED ENDORSEMENT

This endorsement modifies insurance provided under the following:

                                 COMMERCIAL GENERAL LIABILITY COVERAGE PART


Effective at inception and in consideration of the premium charged, it Is understood and agreed that additional insureds
are covered under this policy as required by written contract, but only with respect to operations performed by or for the
Named Insured under contracts normal to the Named Insured's operations.




All other terms and conditions remain unchanged.




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                                                               THIS ENDORSEMENT CHANGES THE POLICY.
   Northland
 & Insurance                                                          PLEASE READ IT CAREFULLY.
             Companies

*This endorsement is EFFECTIVE          January 31, 1999               *and Is part of Policy Number: NN100227

*issued to: Wagner Oil Company

*Entry optional If shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                                            STOP-GAP ENDORSEMENT

This endorsement modifies insurance provided under the following:

                                 COMMERCIAL GENERAL LIABILITY COVERAGE PART

In consideration of the premium charged, it is agreed that        A. Any premium assessment, penalty, fine, or other
if, under any circumstances, it is determined that any                obligation imposed by any Worker's Compensation
employee of an insured, who is reported and declared                  Law;
under the Worker's Compensation Law or Laws of the
State(s) of NEVADA. NORTH DAKOTA, OHIO,                           B.*Bodily Injury," disease or death suffered or caused
WASHINGTON, WEST VIRGINIA WYOMING and any                             by any person knowingly employed by the insured
of the Provinces of Cariad, is unintentionally injured in             in violation of any law as to age, or under the age of
the course of his employment but Is not entitled to                   14 years regardless of any such law;
receive (or elects not to accept) the benefits provided by
the aforementioned law, then this policy shall cover the          C.'Bodily injury," disease or death suffered or caused
legal liability of the insured for such bodily injury,                by any employee whose remuneration has not been
disease or death.                                                     included in the total remuneration upon which the
                                                                      premium for this endorsement is based;
Our liability under this endorsement on account of bodily
Injury,' disease, or death of one person, including               D.    Aircraft operation or the performance of any duty In
damages for care and loss, as the result of one                         connection with aircraft while in flight.
occurrence, is limited to the sum of U.S. $1,000,000
(AND SUBJECT TO THE SAME LIMIT FOR EACH                           E.    Any "claim" for "bodily Injury," disease or death with
PERSON), our total limit of liability for bodily injury,                respect to which the insured is deprived of any
disease or death as a result of one occurrence is                       defense or defenses or is otherwise subject to
limited to the sum of U.S. $1,000,000.                                  penalty because of default in premium payment
                                                                        under, or any other failure to comply with the
The insurance granted by this endorsement will not apply                provisions of the Worker's Compensation Law or
to:                                                                     Laws of the State(s) named above.


All other terms and conditions remain unchanged.




P592.00(10/97)

                                                                                                         Northfield 000
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                                                               THIS ENDORSEMENT CHANGES THE POLIO.
            Northland
            Insurance Companies
                                                                      PLEASE READ IT CAREFULLY.



*This endorsement is EFFECTIVE          January 31, 1999               *and is part of Policy Number: NN100227

*issued to: Wagner Oil Company

*Entry optional if shown In the Policy Declarations. If no entry is shown, the effective date of the endorsement
Is the same as the effective date of the policy.

                                                 OTHER INSURANCE

This endorsement modifies insurance provided under the following:

                                 COMMERCIAL GENERAL LIABILITY COVERAGE PART


The other insurance clause contained herein or in any other applicable insurance policy notwithstanding, it is agreed that
effective at inception: If any insured is added as an Insured on any other insurance policy, and valid insurance is
available to any insured as a result of being so named, then the coverage provided under this policy shall not apply until (
such other insurance is exhausted. In the event any other provider of insurance who has included any insured hereunder
as an insured under their policy of insurance, fails to make its insurance available to such Insured under this policy; we
agree to apply the terms and conditions of this policy as though there were no other insurance In force, provided such
application does not result in any duplication of recovery by such Insured hero under. In return for this agreement you
and I or any insured hereunder transfer all of your rights of recovery from such other insurance to us and you agree to
assist us in any reasonable manner in obtaining such recovery.

It is further agreed in the event another party which Is identified as a non-operator In the applicable operating agreement is
included under this policy as an insured, we will not consider such other party's insurance to be "other insurance" as dealt
with in Section IV - COMMERCIAL GENERAL LIABILITY CONDITIONS paragraph 4. Other Insurance, of this policy,
provided such treatment does not result in any duplication of recovery to such other party. if such treatment would result in
duplication of recovery to such other party then this paragraph shall not apply.




All other terms and conditions remain unchanged.




                                                                 BY:




P598-OG (10187)


                                                                                                          Northfield 0004
                                NOTICE OF
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                                                                 THIS ENDORSEMENT CHANGES THE POLICY,
 &
             No  nCgianies                                              PLEASE READ IT CAREFULLY.



*This endorsement is EFFECTIVE           January 31, 1999              *and is part of Policy Number: NNI 00227

Issued to: Wagner Oil Company

"Entry optional if shown in the Policy Declarations. if no entry is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                               CHANGES - DEFINITION COVERAGE TERRITORY

This endorsement modifies insurance provided under the following:

                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART


Effective at inception and in consideration of the premium charged, it Is understood and agreed SECTION V.
DEFINITIONS paragraph 4. Sub-paragraph c. is eliminated in its entirety and replaced by the following:

      c.    Anywhere in the world with respect to "bodily injury," "property damage," "personal injury" or "advertising Injury"
            arising out of the activities of any insured, provided the original "suit" for damages because of any such injury
            or damage is brought within the United States of America, its territories or possessions or Canada.

      Such insurance as Is afforded by paragraph c. above shall not apply:

      a.    to 'bodily injury" or "property damage" included within the "products-completed operations hazard."




All other terms and conditions remain unchanged.




P599-OG (10/97)


                                                                                                           Northfield 000
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                                                                THIS ENDORSEMENT CHANGES THE POLICY.
           Northland                                                   PLEASE READ IT CAREFULLY.
           Insurance Companies

*This endorsement is EFFECTIVE          January 31, 1999              *and Is part of Policy Number: NN100227

Issued to: Wagner Oil Company

 Entry optional if shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                          "TEMPORARY WORKER" EXCLUSION ENDORSEMENT

This endorsement modifies insurance provided under the following:

                                 COMMERCIAL GENERAL LIABILITY COVERAGE PART


SECTION I COVERAGES, COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE LIABILITY, Paragraph 2.
Exclusions, subparagraph (e) Employer's Liability is deleted and replaced with the following:

     (e) Employer's Liability

           Bodily injury" to:

           (1)   An"employee' or 'temporary worker' of the insured arising out of and in the course of:

                 (a) Employment by the insured; or

                 (b) Performing duties related to the conduct of the insured's business; or

           (2)   The spouse, child, parent, brother or sister of that 'employee" or 'temporary worker' as a consequence of
                 Paragraph (1) above.

           This exclusion applies:

           (1) Whether the insured maybe liable as an employer or in any other capacity, and

           (2) To any obligation to share damages with or repay someone else who must pay damages because of the
               injury.

           This exclusion does not apply to liability assumed by the insured under an 'Insured contract?


All other terms and conditions remain unchanged.




                                                                BY:




P602OG (10197)


                                                                                                         Northfield 000fl
                             NOTICE OF
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                                                                THIS ENDORSEMENT CHANGES THE POLICY.
           Northland                                                   PLEASE READ IT CAREFULLY.
 &W Insurance Companies

*This endorsement is EFFECTIVE           January 31, 1999               and Is part of Policy Number: NNI 00227

Issued to: Wagner Oil Company
*Entry optional if shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                               NON-SUBSCRIBER EXCLUSION ENDORSEMENT

This endorsement modifies insurance provided under the following:

                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART


Effective from inception and in consideration of the premium charged, It Is understood and agreed that this policy does not
apply to any actual or alleged liability for Employers Liabilitywhere the claim is made or the injury took place in any state(s)
where you are a non-participant or non-subscriber to regular programs established by the State's Workers' Compensation
or Disability law statutes or regulations: provided, however, that this exclusion does not apply to liability of others assumed
by you under an Insured contract."



All other terms and conditions remain unchanged




                                                                  BY:




P603OG (10/97)


                                                                                                           Norlhfleld OOO
                             NOTICE OF
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                                                                 THIS ENDORSEMENT CHANGES THE POLICY
           Northland                                                    PLEASE READ IT CAREFULLY.
        * Insurance Companies

*This endorsement Is EFFECTIVE           January 31, 1999              hand is part of Policy Number: NN100227

*issued to: Wagner Oil Company

'Entry optional if shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                              DUTIES IN THE EVENT OF LOSS ENDORSEMENT

This endorsement modifies Insurance provided under the following:

                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART


Section IV COMMERCIAL GENERAL LIABILITY CONDITIONS, paragraph 2. Duties In The Event Of Occurrence,
Offense, Claim Or Suit, is amended as follows:

Sub-paragraph a. is deleted in Its entirety and replaced with the following:

a.   You must see to it that we are notified as soon as practicable of any *occurrence or offense which may result in a
     claim under this policy. To the extent possible, notice should include:

     (1) How, when and where the 'occurrence" or offense took place;

     (2) The names and addresses of any Injured persons and witnesses; and

     (3) The nature and location of any injury or damage arising out of the occurrence" or offense.

The following paragraph e. is added:

e.   Notice of an occurrence or offense as required above, should be given to us as shown below:

     Northfield Insurance Company
     do Burke Daniels Co., Inc.
     Claims Department
     9301 Southwest Freeway, Suite 500
     Houston, Texas 77074




All other terms and conditions remain unchanged.




P605-00(10/97)


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                                                                  THIS ENDORSEMENT CHANGES THE POLICY.
            Northland                                                     PLEASE READ IT CAREFULLY.
           Insurance Companies

'This endorsement is EFFECTIVE            January 31, 1999              *and is part of Policy Number: NN100227

"issued to: Wagner Oil Company

"Entry optional if shown in the Policy Declarations. If no entry Is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                                       FELLOW EMPLOYEE ENDORSEMENT

This endorsement modifies insurance provided under the following:

                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART


Effective at inception and in consideration of the premium charged, it is understood and agreed SECTION Ii. - WHO IS AN
INSUREOparagraph 2. Sub-paragraph a. (1) is eliminated in its entirety and replaced by the following:

2.   Each of the following is also an insured:

           Your 'employees,' other than your 'executive officers," but only for acts within the scope of their employment
           by you or while performing duties related to the conduct of your business. However, no 'employee" is an
           Insured for:

           (1)   'Bodily injury" or "personal injury:

                 (a)   To you, to your partners or members (if you are a partnership or joint venture), or to a co-
                       "employee" while In the course of his or her employment or while performing duties related to the
                       conduct of your business;

                 (b)   To the spouse, child, parent, brother or sister of that co-'employee" as a consequence of paragraph
                       (1)(a) above;

                 (c)   For which there Is any obligation to share damages with or repay someone else who must pay
                       damages because of the injury described in paragraphs (1)(a) or (b) above; or

                 (d) Arising out of his or her providing or failing to provide professional health care services;

           except that (1) (a), (b) and (c) above do not apply to your 'employees" who are managers andlor supervisor
           but only as respects their duties as managers and/or supervisors.


All other terms and conditions remain unchanged.




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P611-00(2/98)


                                                                                                            Northfield OOO
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                                                                 THIS ENDORSEMENT CHANGES THE POLICY,
           Northland                                                    PLEASE READ IT CAREFULLY.
    W Insurance Companies

*This endorsement is EFFECTIVE           January 31, 1999               *and is part of Policy Number: NN100227

*issued to: Wagner Oil Company

 Entry optional if shown in the Policy Declarations. If no entry Is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                                     EXCLUSION - ASBESTOS, SILICA DUST

This endorsement modifies insurance provided under the following:

                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART


This insurance does not apply to bodily injury," "property damage," "personal injury," advertising injury," or medical
expense arising out of the following diseases:

a. Asbestosis
ft Silicosis
c. Mesothelioma
d. Emphysema                                                                                                                     -:
e. Pneumoconiosis
f. Pulmonary Fibrosis
g. Pleuritis
ft Endothelioma

or any lung disease or any ailment caused by, or aggravated by, asbestos in any form or silica dust.

This insurance does not apply to any:

a. Damages arising out of the existence of asbestos in any form or silica dust, including the costs of remedial
   investigations or feasibility studies, or to the costs of testing, monitoring, abatement, mitigation, cleaning, removal, or
   disposal of any property or substance;

b. Damages arising out of any supervision, instructions, recommendations, warnings or advice given or which should
   have been given in connection with the above; or

c. Obligation to share damages with or repay someone else who must pay damages in connection with any of the above.



All other terms and conditions remain unchanged.




                                                                  BY:




P613OG (10/97)


                                                                                                           Northfield 000
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                                                                THIS ENDORSEMENT CHANGES THE POLICY.
           Northland                                                   PLEASE READ IT CAREFULLY.
           Insurance Companies

*This endorsement Is EFFECTIVE          January 31, 1999              *and is part of Policy Number: NN100227

Issued to: Wagner Oil Company

*Entry optional if shown in the Policy Declarations, If no entry is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                                        ACTIONS IN REM ENDORSEMENT

This endorsement modifies Insurance provided under the following:

                                 COMMERCIAL GENERAL LIABILITY COVERAGE PART


In consideration of the premium charged, it is understood and agreed that such coverage as Is afforded by this policy shall
not be denied solely on the basis that the claim or 'suit" against the insured is based upon an 'In Rem' proceeding.




All other terms and conditions remain unchanged.




P5950G (10/9?)


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                                                                 THIS ENDORSEMENT CHANGES THE POLICY,

Ii         Northland
           Insurance Companies
                                                                        PLEASE READ IT CAREFULLY.



*This endorsement is EFFECTIVE          January 31, 1999                *and is part of Policy Number: NN100227

*Issued to: Wagner Oil Company

 Entry optional if shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement
is the same as the effective date of the policy.




This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                         PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


SECTION It - WHO IS AN INSURED is amended to Include as an Insured:

1.   You with respect to any non-operating working interest in any oil or gas lease with any co-owners, joint venture, or
     mining partners, but only with respect to liability arising out of such interest;

2.   At the option of the first Named Insured shown in the Declarations when any Named Insured is designated as an
     operator In the applicable operating agreement, any of your co-owners, joint venture or mining partners having a
     non-operating working interest with you in any oil or gas lease, but only with respect to their liability arising out of
     such Interest;

3.   You and, at the option of the first Named Insured shown in the Declarations, any owners or co-owners of oil or gas
     leases, but only with respect to your or their liability for operations you conduct as operating agent under written
     contract with the owner or co-owner.

4.   You and, at the option of the first Named insured shown in the Declarations when any Named Insured is designated
     as an operator in the applicable operating agreement, any of your co-owners, joint venture or partners having a non-
     operating working and/or financial interest with you in investment ventures normal to the Insured's operations, but
     only with respect to liabilities arising out of such interests.

To the extent insurance would be afforded under this endorsement, the limitation under SECTION II - WHO IS AN
INSURED with respect to any partnership or Joint venture not shown as a Named Insured in the Declarations does not
apply.




All other terms and conditions remain unchanged.




                                                                  BY:




P589-00(10/97)


                                                                                                            Northrield 000
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                                                                 THIS ENDORSEMENT CHANGES THE POLIC
            Northland                                                   PLEASE READ IT CAREFULLY.
            Insurance Companies

*This endorsement Is EFFECTIVE            January 31, 1999              *and Is part of Policy Number: NN100227

*issued to: Wagner Oil Company
*Entry optional if shown in the Policy Declarations, if no entry is shown, the effective date of the endorsement
Is the same as the effective date of the policy.

                    AMEND NAMED INSURED WORDING TO INCLUDE SUBSIDIARIES
                               (OPERATORS/NON-OPERATORS)

This endorsement modifies Insurance provided under the following:

                                   COMMERCIAL GENERAL LIABILITY COVERAGE PART


Effective at inception and in consideration of the premium charged it is understood and agreed that:

      SECTION II WHO IS AN INSURED Is amended to eliminate the following wording:

            No person or organization is an insured with respect to the conduct of any current or past partnership or joint
            venture that is not shown as a Named Insured in the Declarations.

            It is further agreed that a new paragraph 5 is added to SECTION Il - WHO IS AN INSURED as follows:

            5.    With respect to operators and non-operators, any owned or controlled company or subsidiary of the
                  Named Insured or at the option of the First Named Insured shown In the Declarations, joint ventures or
                  partnerships of the Named insured is an insured, but only with respect to their liability arising out of such
                  interest.




All other terms and conditions remain unchanged.




P590-00 (10197)


                                                                                                           Northfield OOO
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                                                                THIS ENDORSEMENT CHANGES THE POLICY.
   Northland
 & Insurance                                                           PLEASE READ IT CAREFULLY.
             Companies

*This endorsement Is EFFECTIVE           January 31, 1999             'and is part of Policy Number: NN100227

*issued to: Wagner Oil Company

*Entry optional if shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                                             WHO IS AN INSURED (LLC)

This endorsement modifies insurance provided under the following:

                                   COMMERCIAL GENERAL LIABILITY COVERAGE PART


The following is added to Commercial General Liability Coverage Form P650OG Paragraph I of SECTION II - WHO IS
AN INSURED:

          d.      A limited liability company, you are an insured. Your members are also insureds, but only with
                  respect to the conduct of your business. Your managers are Insureds, but only with respect to their
                  duties as your managers.




All other terms and conditions remain unchanged.




P618-OG (10197)


                                                                                                          Northfield 000
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                                                                 THIS ENDORSEMENT CHANGES THE POLICY.
            Northland
 I          Insurance Companies
                                                                             PLEASE READ IT CAREFULLY.




'This endorsement is EFFECTIVE             January 31, 1999             and is part ol Policy Number: NN100227

'Issued to: Wagner Oil Company

'Entry optional if shown in the Policy Declarations, If no entry is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                  ADJUSTABLE RATE ENDORSEMENT (OPERATORS/NON-OPERATORS)

This endorsement modifies insurance provided under the following:

                                 COMMERCIAL GENERAL LIABILITY COVERAGE PART

It is understood and agreed that the premium paid for this policy is only provisional and is subject to annual adjustment at
the rates set forth below. You agree to report to us at the expiration of this policy the exact number of your wells during
the policy period and pay premium thereon at rates shown.

The deposit premium shall be applied against the premium for the final adjustment period. However, we will receive a
minimum premium of $(See Declarations) for this insurance.

                                                      ADJUSTMENT RATES
                                   Working              Numberol WeDs         Rite                     Prpmkjm
                                   Intitrest            Lind      Wi     ksnsi       We[        Land
DRILLING:

Operator                                                  3                  363 $ 765 $ 1.149 $
98150


Non-Opr.                            0%           5%                      $    19     $ 38       $            $
48510                               6%      -   10%                      $    38     $ 77       $            $
                                    11%         25%                      $    77     $ 153      $            $
                                   '26%     -   50%       3              $   191     $ 363      $      573   $
                                    Over        50%                      $   287     $ 574      $            $

PRODUCING:

Operator                                                 137      23     $    64     $ 128      $   8,768    $   2.94.4
98150

Non-Opt.                           0%            5%       45             $    3      $      6   $      135   $
46510                              6%   -       10%       23             $    6      $     13   $      138   $
                                   11% -        25%       34             $   13      $     26   $      442   $
                                   26% -        50%       21             $   32      $     64   $      672   $
                                   Over         50%       4              $   48      $     96   $      192   $

Pipeline -98150                                          31    miles     $   85                              $ 2,635


All other terms and conditions remain unchanged.




P596-OG (10197)


                                                                                                                 Northfield 000gq
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                                                                THIS ENDORSEMENT CHANGES THE POLICY.
           Northland                                                   PLEASE READ IT CAREFULLY.
      W Insurance Companies

*This endorsement is EFFECTIVE          January 31, 1999                *and is part of Policy Number: NN100227

Issued to: Wagner OH Company

*Entry optional if shown In the Policy Declarations. If no entry is shown, the effective data of the endorsement
is the same as the effective date of the policy.

                                          WATERCRAFT ENDORSEMENT

This endorsement modifies insurance provided under the following:

                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART


Notwithstanding anything contained herein to the contrary, it is understood and agreed (hat:

SECTION I - COVERAGES, paragraph 2., EXCLUSIONS, subparagraph g.(2) is amended to read as follows:

(2)   A watercraft that is less than 50 feet long provided such watercraft is not being used to carry persons or property for
      a charge.




All other terms and conditions remain unchanged.




                                                                  BY:




P593OG (10197)


                                                                                                          Northfield OOOj)
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                                                               THIS ENDORSEMENT CHANGES THE POLICY.
        Northland
     W Insurance Companies
                                                                      PLEASE READ IT CAREFULLY.



*This endorsement Is EFFECTIVE          January 31, 1999             *and is part of Policy Number:    NN100227
*issued to: Wagner Oil Company

*Entry optional if shown in the Policy Declarations. 11 no entry Is shown, the effective date of the endorsemen
Is the same as the effective date of the policy.

                                                   SERVICE OF SUIT

It Is agreed that in the event of our failure to pay any amount claimed to be due hereunder, we, at your request will submit
to the jurisdiction of any court of competent jurisdiction within the United States of America and will comply with all
requirements necessary to give such court jurisdiction and all matters arising hereunder shall be determined in accordance
with the law and practices of such court.

It is further agreed that service of process in such suit may be made upon our President or his nominee, at 1295 Northland
Drive, Mendota Heights, Minnesota 55120 and that In any suit instituted against any one of them upon this policy we will
abide by the final decision of such court or of any appellate court In the event of an appeal.

The above-named is authorized and directed to accept service of process on our behalf in any suit.




All other terms and conditions remain unchanged.




S100-lL (6/94)

                                                                                                         Northfield OOO
                      NOTICE OF
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                                                                                                IL 02 75 06 95

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY,

                    TEXAS CHANGES - CANCELLATION
                   AND NONRENEWAL PROVISIONS FOR
                         CASUALTY LINES AND
                    COMMERCIAL PACKAGE POLICIES
This endorsement modifies insurance provided under the following:
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART - FARM LIABILITY COVERAGE FORM
   LIQUOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
This endorsement also modifies insurance provided under the following when written as part of a Commercial
Package Policy:
   BOILER AND MACHINERY COVERAGE PART
   COMMERCIAL CRIME COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   FARM COVERAGE PART - FARM LIABILITY COVERAGE FORM
   FARM COVERAGE PART -LIVESTOCK COVERAGE FORM
   FARM COVERAGE PART - MOBILE AGRICULTURAL MACHINERY AND EQUIPMENT
                               COVERAGE FORM
   GLASS COVERAGE FORM
   LIQUOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. Paragraph 2. of the CANCELLATION Common                      The permissible reasons for cancellation are
   Policy Condition is replaced by the following:               as follows:
   2. We may cancel this policy by mailing or deliv-            a. If this policy has been In effect for 60 days
      ering to the first Named Insured written notice              or less, we may cancel for any reason ex-
      of cancellation, stating the reason for cancella-            capt, that under the provisions of the Texas
      tion, at least 10 days before the effective date             Insurance Code, we may not cancel this
      of cancellation.                                             policy solely because the policyholder is an
      However if this policy covers a condominium                  elected official.
      association, and the condominium property                 b. If this policy has been in effect for more
      contains at least one residence or the condo-                than 60 days, or if it is a renewal or con-
      minium declarations conform with the Texas                   tinuation of a policy issued by us, we may
      Uniform Condominium Act, then the notice of                  cancel only for one or more of the following
      cancellation, as described above, will be pro-               reasons:
      vided to the First Named Insured 30 days be-                (1) Fraud In obtaining coverage;
      fore the effective date of cancellation. We will
      also provide 30 days' written notice to each                (2) Failure to pay premiums when due;
      unit-owner to whom we issued a certificate or               (3) An increase in hazard within the control
      memorandum of insurance, by mailing or de-                       of the insured which would produce an
      livering the notice to each last mailing address                 increase in rate;
      known to us.




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         (4) Loss of our reinsurance covering all or         3. If this policy covers a condominium associa-
              part of the risk covered by the policy: or         tion, and the condominium property contains at
         (5) If we have been placed in supervision,              least one residence or the condominium decla-
              conservatorship or receivership and the            rations conform with the Texas Uniform Con-
              cancellation is approved or directed by            domlnium Act, then we will mail or deliver
              the supervisor, conservator or receiver,           written notice of nonrenewal, at least 30 days
                                                                 before the expiration or anniversary date of the
B. The following condition Is added and supersedes               policy, to:
   any provision to the contrary:
                                                                 a. The first Named Insured; and
   NONRENEWAI-
                                                                 b. Each unit-owner to whom we Issued a
   1. We may elect not to renew this policy except,                  certificate or memorandum of Insurance,
      that under the provisions of the Texas Insur-
      ance Code, we may not refuse to renew this                 We will mail or deliver such notice to each last
      policy solely because the policyholder is an               mailing address known to us.
      elected official.                                      4. If notice is malted, proof of mailing will be
   2. This Paragraph, 2., applies unless the policy              sufficient proof of notice.
      qualifies under Paragraph 3. below.                    5. The transfer of a policyholder between admit-.
      If we elect not to renew this policy, we may do           led companies within the same insurance
      so by mailing or delivering to the first Named             group is not considered a refusal to renew.
      Insured, at the last mailing address known to
      us, written notice of nonrenewal, stating the
      reason for nonrenewal, at least 60 days before
      the expiration date. if notice is mailed or deliv-
      ered less than 60 days before the expiration
      date, this policy will remain in effect until the
      61st day after the date on which the notice is
      mailed or delivered. Earned premium for any
      period of coverage that extends beyond the
      expiration date will be computed pro rata
      based on the previous year's premium.




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                                                     THIS ENDORSEMENT CHANGES THE POLICY.
           Northland                                        PLEASE READ IT CAREFULLY.
            Insurance Companies


ENDORSEMENT NO I


                                   POLICY CHANGES
POLICY NO.                         EFFECTIVE                      COMPANY
NN100227                           January31, 1999                Northfield Insurance Company

NAMED INSURED                                                     AUTHORIZED REPRESENTATIVE

Wagner Oil Company                                                Burke-Daniels Co., Inc.


COVERAGE PARTS AFFECTED

      P650-OG (10197) and All Policy Attachments/Forms


                                               CHANGES

The Named Insured is completed to read as follows:

         Wagner Oil Company
         Aptian Energy Services, Ltd.
         Aptian Gas Corporation
         Bartonian Partners
         Bryan C. Wagner
         Carancahua L.P.
         Claiborne, L. P.
         Discorbis Pipeline
         Goldenrod Transmission Company
         Norias, L.P.
         Turonlan Corp.




All Other Terms and Conditions Remain Unchanged.




                                                           Authorized Representative Signature




P662-00 (10/97)

                                                                                            Northfield 000
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                                                  THIS ENDORSEMENT CHANGES THE POLICY
           Northland                                     PLEASE READ IT CAREFULLY.
           Insurance Companies


ENDORSEMENT NO. 2


                                   POLICY CHANGES
POLICY NO.                         EFFECTIVE                          COMPANY
NNI 00227                          January 31, 1999                   Northfield Insurance Company


NAMED INSURED                                                        AUTHORIZED REPRESENTATIVE

Wagner Oil Company                                                   Burke-Daniels Co., Inc.


COVERAGE PARTS AFFECTED

     P650-OG (10/97) and All Policy Attachments/Forms


                                                CHANGES

It Is understood and agreed that the Named Insured is amended to include:

        H. Ed Patterson
        Brent D. Talbot
        Stephen M. Clark
        Ernie Grodi
        Dennis A. Taylor
        Mark W. Belcher




All Other Terms and Conditions Remain Unchanged.




                                                               Authorized Representative Signature




P662-OG (10197)

                                                                                               Northfield 0DO
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                                                      THIS ENDORSEMENT CHANGES THE POLICY.
  Northland
& Insurance                                                  PLEASE READ IT CAREFULLY.
            Companies


ENDORSEMENT NO, 3


                                      POLICY CHANGES
POLICY NO.                            EFFECTIVE                            COMPANY
NNI 00227                             January 31, 2000                     Northfield Insurance Company


NAMED INSURED                                                              AUTHORIZED REPRESENTATIVE

Wagner Oil Company                                                         Burke-Daniels Co., Inc.


COVERAGE PARTS AFFECTED

     P650-OG (10/97) and All Policy Attachments/Forms


                                                   CHANGES

                                                    Final Audit

It is understood and agreed that the final audit is calculated as follows, see attached.




All Other Terms and Conditions Remain Unchanged.




                                                                    Authorized Representative Signature




P662-OG (10197)

                                                                                                     Northfield 000
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                                                                   THIS ENDORSEMENT CHANGES THE POLICY.
              Northland
 &I           Insurance Companies
                                                                          PLEASE READ IT CAREFULLY.



*This endorsement is EFFECTIVE            January 31, 2000                  *and Is part of Policy Number: NN100227

issued to: Wagner Oil Company

*Entry optional if shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement
Is the same as the effective date of the policy.

                    FINAL AUDIT ENDORSEMENT (OPERATORS/NON-OPERATORS)

This endorsement modifies insurance provided under the following:

                                 COMMERCIAL GENERAL LIABILITY COVERAGE PART

It Is understood and agreed that the premium paid for this policy is only provisional and is subject to annual adjustment at
the rates set forth below. You agree to report to us at the expiration of this policy the exact number of your wells during
the policy period and pay premium thereon at rates shown.

The deposit premium shall be applied against the premium for the final adjustment period. However, we will receive a
minimum premium of $(See Declarations) for this Insurance.

                                                    ADJUSTMENT RATES
                                   Working            Nijmharf Wells             Rate                         Premium
DRILLING:                          Interest           Land      Wet          Land     Wet              L nd          Wet

Operator                                                 1                   $ 383        $ 765        $      363    $
98150

Non-Opr.                           0%          5%                            $    19      $ 35         $             $
46510                              6%   -     10%        3                   $    38      $ 77         $      114    $
                                   11% -      25%        2                   3    77      $ 153        $      154    $
                                   26%        50%        3                   $   191      $     383    $      573    $
                                   Over       50%                            $   287      $     574    $             $
PRODUCING:

Operator - Wet                                                      22                    $     126                  $     2.816
                                                                 Acquired
                                                     Inception   07-01-99    (586)             P/R         Anni,          P/R
Operator                                                137         36       $   64       $      38    $ 8,768       $     1.368
98150
                                                                 Acquired
                                                     inception   07-01-99    (.586)         PIR            &mL            PIR
Non-Opr.                           0%     -    5%        40                  $        3   $    3       $    120     $
46510                              6%     -   10%        15          3       $        6   $    4       $     90     $        12
                                   11%    -   25%        34         15       $ 13         $    8       $    442     $       120
                                   26%    -   50%       16           2       $ 32         $     19     $    512     $        36
                                   Over       50%       4            5       $ 48         $     28     $   192      $       140
Pipeline - 98150                                        31       miles       $ 85                      $ 2.635
                                                                                              TOTAL:   $ 18.477
                                                                                 PAID PREMIUM:         $ 17.648
                                                                  ADDITIONAL PREMIUM DUE:              $   829

All other terms and conditions remain unchanged.




                                                                    BY.-


P596-OG (10197)


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                 IMPORTANT NOTICE                                  AVISO IMPORTANTE

 To obtain or make a complaint;                       Para obtener informacion o para someter una
                                                      queja:
 You may call Northland Insurance Companies' toll-
 free telephone number for information or to make a   Listed puede Ilamar al numero de teiefono gratis de
 complaint at:                                        Northland insurance Companies para informacion o
                                                      para someter una queja at:
                 lE:1SI.M1
                                                                    1-800-237-9334
 You may also write to Northland Insurance
 Companies at:                                        Usted tambien puede escribir a Northland Insurance
                                                      Companies;
                 P.O. Box 64816
                 St, Paul, Minnesota 55164-0816                    P. 0. Box 64816
                                                                   St. Paul, Minnesota 55164-0816
You may contact the Texas Department of
Insurance to obtain Information on companies,         Puede comunicarse con el Departmento de
coverages, rights or complaints at:                   Seguros de Texas para obtener Informacion acerca
                                                      de companias, coberturas, derechos o quejas al:
                 1-800-252-3439
                                                                   1-800-252-3439
You may write the Texas Department of Insurance,
P.O. Box 149104, Austin, Texas 78714-9104. Fax        Puede escribir a Departamento de Seguros de
#(512) 475-1771.                                      Texas, P. 0. Box 149104, Austin, Texas 78714-
                                                      9104. Fax#(512)475-1771.
PREMIUM OR CLAIM DISPUTES;
                                                      DISPUTAS SOBRE PRIMAS 0 RECLAMOS:
Should you have a dispute concerning your
premium or about a claim, you should contact          Si tiene una disputa concerniente asu prima o a un
Northland insurance Companies first. If the dispute   reclamo, debe comunicarse con Northland
is not resolved, you may contact the Texas            Insurance Companies prlmero. Si no $e resuelve la
Department of Insurance.                              disputa, puede entonces comunicarse con el
                                                      Departamento do Seguros de Texas,
ATTACH THIS NOTICE TO YOUR POLICY;
                                                      UNA ESTE AVISO A SU POLIZA:
This notice is for information only and does not
become a part or condition of the attached            Este aviso as solo para proposito do informacion y
document.                                             no se convierte en parte a condicion del documento
                                                      adjunto.




N-1817(R 4/93)

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           Northland                         0POLICY
                                               UMBRELLA LIABILITY
                                                     DECLARATIONS
                                                                                  •' •     OVERASE IS PROVIDED BY:
                                                                                          1ORTHfIELD INSURANCE COMPANY


                                                                                             Policy No. NUI01 368

    Policy Period From            January 31. 1999          to January 31. 2000          Renewal oi No. NEW
    41 12:01 kM. Stifldird Time at Yctir miling addigat sfown butow.

    Named Insured and Maith9 Address- Wagner OR Company
                                        3400 City Canter Tower ii
                                        Ft. Worth. Texas 76102

    IN RETURN FOR THE PAYMENT OF THE PREMIUM. AND SUBJECT TO ALL THE TERMS OF THIS POLICY. WE
                                                          THIS POLICY.
    AGREE WITH YOU TO pROVIDE THE INSURANCE AS STATED 114

    UMITS OF $NSURANCE

    Each Occurrence Limit                                                      $10,000,000
    General Aggre ate LimitJOtlter than Products/Completed Operations and Auto $10,000,000
    Products-Completed Operations Aggregate Limit                              $10,000,000
    SeII-insure Retention - Coverage B:                                        $    10.000


    ADVANCE PREMIUM: (Adjustable per Section IV, 41b))

            $ 13,375,00            Minimum Premium (per annum)
            $ 13,375.00            Premium Payable at Inception {see Minimum Earned Premium Enrsernnnt)
                  500.00           Policy Fee
            $     672.94           Texas State 'Tax
I
    .                              Texas Stamping Fee
                                   Total Payable at Inception                        r    7
    •       $ 14,568.75
4
4
     FORM OF BUSINESS
     Form ol Business:

    :
            }ndMdual      [J Joint Venture [J Partnership D IIC [J Oranizatiort (01h- than                    01,Wint


     BUSINESS DESCRIPTION Lease Operator/Non-Operator

     FORMS AND ENDORSEMENTS ATTACHED TO THIS POLICY AT INCEPTION ,

     P651.013 (10-9)J             P621-GO 110-971            P652-013 (2-98)
     P665.013 110-97)             P622-Ge (10-97)            P702-CO 1298)
     P6570G (10-97)               P629-OG 110-97)            91030-IL 16/94)
       61.05 (10-971              P624-013 (10-971           IL 02 75 (06/91
     P663.013 (10-97)             P625-06 (10-97)            Endorsement No. 1
     P619-CO (10-97)              P628-00 (10-97)
     P620-03 (1097)               P623-06 110-97)
        UNDEcILYING INSURANCE IS LISTED IN THE SCHEDULE OF UNDERLYING INSURANCE.

        Countnsigne& AGENCY W049000
        Burke-Daniels Co. Inc.
        P. 0. flex 36069
        lioustort, Texas 77236                                                    By
                                                                                            Authorized Representative


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                                                                                                            EXHIBIT
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                                       Northland.                      aej




                                                          COMMERCIAL INSURANCE
                                                                POLICY FOR
                                                          OIL AND GAS OPERATIONS


                                                          Administered by: Burke-Daniels Co.. Inc.
                                                                           9301 Southwest Freeway, Suite 500
                                                                           Houston, TX 77074
                                                                           Phone: (713)981-3900 Fax: (713)981-3999




                                                                                     Northfield Insurance Company
                                                                                     1295 NotThlsnd Drive
                                                                                     Mendota Heights, Minnesota 55120
                                                                                     I-800237-9334


                                                                                                       Stock Company

                                        P651-OG (1 Oma)
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                      THIS ENDORSEMENT CHANGES THE POLICY PLEASE READ IT CAREFULLY.                                                                 COMMON POLICY CONDITIONS

               NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT (Broad Form)                                                                          All Coverage Parts Included in this policy are subject to the following conditions.

 This endorsement modifies Insurance provided under the following:
                                                                                                                                                        CANCELLATION                                                               INSPECTIONS AND SURVEYS
 Commercial Auto/Garage Coverage Part                                       Owners and Contractors Protective Liability Coverage Part                   1, The first Named Insured shown In the Declarations                       We have the right but are not obligated to:
 Commercial General Liability Coverage Part                                 Commercial Professional Liability Coverage Part                                 may cancel this policy by mailing or delivering to us                  1. Make inspections and surveys at anytime;
 Products/Completed Operations Liability Coverage Pert                      Buslriessownera Lability Coverage Form                                          advance written notice of cancellation.                                2. Give you reports on the conditions we find; and
                                                                                                                                                        2. Vde may cancel this policy by mailing or delivering to                  3. Recommend changes.
 1. This insurance does not apply:                                              As used In this endorsement:                                                the first Named insured written notice of cancellation                  Any Itnspectionts, surveys, reports or recommendations
     A. Under arty Liability Coverage to 'bodily Injury' or                     'hazardous properties' Include radioactive, toxic or                        at least                                                               relate only to insurability and the premiums lobe charged.
          'property damage':                                                    explosive propertIes;                                                       a. 10 days before the effective date of cancellation                    We do not make safety Inspections. We do not undertake
          (1) With respect to which an 'insured Under the                       'nuclear material' means 'Source material.' 'special                             If we cancel for nonpayment of premium; or                         to perform the duty of any person or organization to provide
               policy Is also an Insured under a nuclear energy                 nuclear material,' or 'by-product materlar:                                  b, 30 days before the effective date of cancellation                   for the health or safety of workers or the public. And we
               liability policy issued by Nuclear Energy Liability              'source material', 'special nuclear material,' and 'by-                          If we cancel for arty other reason,                                do not warrant that conditions:
               Insurance Association, Mutual Atomic Energy                      product material' have the meanings given them In the                   3. We will mail or deliver our notice to the first Named                    1. Are safe orhealthful: or
               Liability Underwriters, Nuclear Insurance                         Atomic EnergyAct of 1954 or any law amendatory thereat-,                   Insured'S last mailing address known to us.                             2. Comply with laws, regulations, codes or standards,
               Association of Canada or any of their successors,                'spent fuel' means any fuel element or fuel component.                  4. Notice of cancellation wtti state the effective date of                  This condition applies not only to us, but also to any rating,
               or would be an insured under any such policy but                 sold or iiquid,v4tich has been used crexposed to radiation                   cancellation. The policy period will end on that date,                 advisory, mete service, or similar orgemiizatlonwhich makes
               for its termination upon exhaustion of Its limit or              in a 'nuclear reactor';                                                                                                                             Insurance Inspections, surveys, reports or
               liability: or                                                    'waste means any waste material (a) containing 'by-                     S. If this policy Is cancelled, we will send the first Named
          (2) Resulting from the 'hazardous properties' of                      product material" other than the tailings of wastes                          Insured any premium refund due. If we cancel, the                      recommendations.
               "nuclear material' and with respect to which (a)                  produced by the extraction or concentration of uranium                      refund will be pro r8ta. If the first Named Insured                    PREMIUMS
                any person orcirganization Is required to maintain               or thorium from arty ore processed primarily for Its 'source                cancels, the refund may be less than pro rats, The                     The first Named insured shown In the Declarations:
               financial protection pursuant to tile Atomic Energy              rnalertar content, and (b) resulting from the operation by                   cancellation will be effective even It we have not made                1. is responsible for the payment of all premiums; and
               Act of 1954, or any law amendatory thereof, or                    any person ororganizatice of any 'nudearfadhll' included                    or offered a refund.                                                   2. Will be the payee for any return premiums we pay.
                (b) the insured' is. or had this policy not been                Under the first two paragraphs of the definition of'nuclear              6. If notice is mailed, proof of mailing will be sufficient                TRANSFER OF YOUR RIGHTS AND DUTIES UNDER
                issued would be. entitled to indemnity from the                  facility.'                                                                  proof of notice,                                                       THIS POLICY
               United States of America, or any agency thereof,                  'nuclear facility' means:                                               CHANGES                                                                    Your rights and duties under this policy may not be
                under any agreement entered into by the United                         (a) Any 'nuclear reactor';                                       This policy contains all the agreements between you and                     transferred without our wrItten consent except In the case
                States of America, or any agency thereof, with                         (b) Any equipment or device designed or Used for                 us concerning the Insurance afforded. The first Named                       of death of art individual named Insured.
                any parson or organization.                                                 (1) separating the Isotopes or uranium or
                                                                                                                                                        Insured Shown in the Declarations Is authorized to make                     lryou die, your rights and duties will be transferred to your
     B. Under any Med/cat Payments coverage, to expenses                                    plutonium, (2) processing or utilizing 'spent W.'
                                                                                                                                                         changes In the terms of this policy with our consent. This                 legal representative but only while acting within the scope
           incurred with respect to 'bodiy injury' resulting from                           or (3) handing, processing or packaging 'waste;
           the 'hazardous properties' of 'nuclear material' and                        (c) Any nqulpmcntor device used forthe processing,                policy's terms can be amended or waived only by                             of duties as your legal representative. Until your legal
           arising out of the operation of a 'nuclear facility' by                          fabricating, orafoylrng of'speclel nuclear matertal          endorsement Issued by us and made a part of this policy.                   representative Is appointed, anyone having proper
           any person or organization.                                                      if at any time the total amount of such material in          EXAMINATION OF YOUR BOOKS AND RECORDS                                       temporary custody of your property will have your rights
     C. Under any Liability Coverage, to 'bodily Injury' or                                 the custody of the Insured' atthe premises where             We may examine and audit your books and records as                          and duties but only with respect to that property.
           'property damage' resulting from the 'hazardous                                  such equipment or device is located consists of              they relate to this policy at any time during the policy period
           properties' of 'nuclear material,' If:                                           or contains more than 25 grams of plutonium or               and up to three years afterward.
           (1) The 'nuclear material' (a) is at any 'nuclear                                uranium 230 or any combination thereof, or more
                 facility' owned by, or operated by or on behalf of,                        than 250 grams of uranium 235;
                 an Insured' or (b) has been discharged or                             (d) Any structure, basin, excavation, premises or
                 dispersed therefrom;                                                       place prepared or used forUne storage or disposal
           (2) The 'nuclear material' is contained In 'apenLfuel'                           of 'waste':
                 or 'waateat anytime possessed, handlad, used,                    and includes the site on which any of the foregoing is            In witness Whereof, we have caused this policy to be executed and attested, but this policy siletl not be valid unless
                 processed, stored, transported or disposed of by                 located, all operauons conducted on such site and all
                 or on behalf clan insured; or                                    premises used for such operations;                                countersigned by a dirty authorized representative for us.
           (3) The 'personal ttjuiy' or'property damageariaes                       nuclear reactor' means any apparatus designed or used
                 out of the furnishing by an insured' of services,                 to sustain nuclear fissIon in a self-supporting chain reaction
                 materials, pans or equipment in connection with                  or to contain a Critical mass otfissionabie materiel;
                 the planning, construction, maintenance,                         'property damage' includes all forms of radioactive
                 operation or use of any 'nuclear facility,' but if                contamination of property.
                 such facility is located within the United States of
                 America, its territories or possessions or Canada,                                                                                                             Secretary                                                               President
                 Itils exclusIon (3) applies only to 'property
                  damage' to such 'nuclear facility' and any
                 property thereat.


C'
CD                              Includes cepyriginlefi malarial of Insurance Services Other, Inc,, with to pemmission.                                                             Includes copyrighted material at insurance Services 011ict, Inc., wIth its petinisSisA,
     P651DG (10/97)                               Cepyrighl. Insurance Services Otitce, Inc 1955                                                     P651OG (10/97)                                  Copytlgltt, Insurance Services Ohttce, Inc., 1945

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                            COMMERCIAL UMBRELLA LIABILITY COVERAGE FORM

Various provisions of this policy restrict coverage. Read the entire policy and any'underlying insurance" carefully
to determine rights, duties and what Is covered and not covered.

Throughout this policy the words "yOur" "your" and "yours' refer to the Named insured shown in the Declarations.
The words "we,' "us" and "our" refer to the Company providing this insurance.

With respect to Coverage A, the words "this insurance" mean the excess liability insurance provided under this
policy.

The word "insured" means any person or organization qualifying as such under SECTION II - WHO IS AN INSURED
for Coverage B, and any person qualifying as such under "underlying insurance" for Coverage A.

Other words and phrases that appear in quotation marks have special meaning. Refer to SECTION V-
DEFINITIONS of this policy.


SECTION 1- COVERAGES
COVERAGE A - EXCESS LIABILITY COVERAGE

     INSURING AGREEMENT

     (a)     We will pay those sums, in excess of the amount payable under the terms of any "underlying insurance,."
           -at the insured becomes legally obligated to pay as damages because of injury or damage to which this
             Insurance applies, provided that the "underlying Insurance" also applies, or would apply but for the
             exhaustion of its applicable limits of insurance.

     (b)     We will have the right to participate in the defense of claims or suits against any insured seeking
             damages because of Injury or damage to which this insurance may apply. We will have the right to
             defend such claims or suits when the applicable limit of insurance of the "underlying insurance" has been
             used up by payment of judgments, settlements and any cost or expense subject to such limit.

             This right to defend Is limited as set forth In Paragraph 3. below.

     (c)     The amount we will pay for damages is limited as described in SECTION Ill - LIMIT OF INSURANCE.

     (d)     This insurance Is subject to the same terms, conditions, agreements, exclusions and definitions as the
             .
             underlying insurance,' except:

             (1)   We will have no obligation under this Insurance with respect to any claim or suit that is settled
                   without our consent and

             (2)   With respect to any provisions to the contrary contained in this insurance.

2. EXCLUSIONS

     The exclusions applicable to the "underlying insurance" also apply to this insurance. Additionally, this
     insurance does not apply to;

     (a) Damage by fire to premises rented to you.



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                                                                                                        Northfield 000c3
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     (     Any obligation to pay expenses under any medical payments coverage.

     (c)    Any obligation to reimburse an insurer as provided by the terms of the Endorsement For Motor Carrier
            Policies of insurance For Public Liability Under Sections 29 and 30 of the Motor Carrier Act of 1980 or
            under the terms of any similar endorsement required by Federal or state statute.

     (d)    Any obligation imposed by law under any automobile no-fault, uninsured motorist, underinsured motorist,
            workers compensation, disability benefits or unemployment compensation law or any similar law.

     (e)   Injury excluded by the Nuclear Energy Liability Exclusion Endorsement attached to this policy,

     (1)    injury arising out of the rendering of or failure to render any professional services.

3.   DEFENSE OF CLAIMS OR SUITS

     (a)    When we have and exercise the right to defend, we will pay for all "defense expense" once our right to
            defend begins. We may make investigation of any claim or suit as we think appropriate. We may settle
            such claim or suit within the Amount of Insurance available at the time of the settlement.

     (b)   At our option, our right to defend ends when we have used up the Amount of Insurance available In the
           payment of any combination of judgments, settlements or awards, as provided under SECTION lii -
           LIMITS OF INSURANCE. This applies both to claims and suits pending at the time and those flied
           thereafter.

     (C)   When we control the defense of a claim or suit, we will pay for the "defense expense'/ 'y mutual
           agreement or court order the Insured assumes control before the applicable Amount of Insurance
           available is used up, we will reimburse the Insured for reasonable "defense expense,"

     (d) As soon as practicable after we become aware that an Amount of Insurance available is used up:

            (1)   We will notify you of any outstanding claims or suits subject to that Amount; and

            (2)   You will then arrange to assume control of the defense of all such claims and suits against you or
                  any other insured when our right to defend them ends.

     (e) We will assist the insured In the transfer of control of the defense of claims and suits under (c) or (d)
          above. Until such arrangements are completed, we will take on behalf of any insured those steps that
          we think appropriate:

           (1) To avoid a default in any claim or suit; or

           121 To the continued defense of a claim or suit.

           You agree that if we take such steps:

           (1)    We do not waive or give up any of our rights under this Insurance; and

           (2)    You will reimburse us for any "defense expense" that arises out of such steps If the applicable
                  Amount of Insurance available has been used up.


COVERAGE B - EXTENDED LIABILITY COVERAGE

1. INSURING AGREEMENT

     (a) We will pay those sums that the insured becomes legally obligated to pay as damages because of
          -injury- to which this insurance applies. This insurance applies to "injury" which occurs during the


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           policy period shown In the Declarations. This insurance applies only to injury which occurs in the
            coverage territory.

     fbI We have the right to defend claims or 'suits" against the insured seeking such damages and to pay for
          the "defense expense. This right is limited as described in paragraph 3., under Defense of Claims or
          Suits.

     (c)   Each payment we make for damages reduces the Amount of Insurance available, as provided under
           SECTION lU - LIMITS OF INSURANCE,

     (d)   We have no obligation under this insurance to make payments or to perform acts or services except as
           provided for under (a) and fbI above.

2. EXCLUSIONS

     This Insurance does not apply to:

     (a)   injury" that is the subject of the insurance policies shown In the Schedule of Underlying insurance In
           the Declarations.

     lb) "Bodily injury" or "property damage" expected or intended from the standpoint of the Insured.

     (c)   injury" for which the Insured Is obligated to pay damages by reason of the assumption of liability in a
           contract or agreement.

     (d)   Any obligation Imposed by law under any automobile no-fault, uninsured motorist, underinsured motorist,
           workers compensation, disability benefits or unemployment compensation law or any similar law.

     (e)   (1) "Injury" arising out of the actual, alleged or threatened discharge, dispersal, release or escape of
                 Pollutants:

                  (a)   At or from premises any insured owns, rents or occupies;

                  (b)   At or from any site or location used by or for you or others for the handling, storage, disposal,
                        pr000SSflO or treatment of waste;

                  (c)   Which are at any time transported, handled, stored, treated, disposed of, or processed as
                        waste by or for any insured or any person or organization for whom any insured may be legally
                        responsible; or

                  Cd) At or from any site or location on which any insured or any contractors or subcontractors
                      working directly or indirectly on any insured's behalf are performing operations:

                        (I)   If the pollutants are brought on or to the site or location in connection with such
                              operations; Or

                        (ii) if the operations are to test for, monitor, clean up, remove, contain, treat, detoxify or
                                neutralize the pollutants.

           (2) Any loss, cost, or expense arising out of any governmental direction or request that any insured
                test for, monitor, clean up, remove, contain, treat, detoxify or neutralize pollutants.

     Pollutants means any solid, liquid, gaseous or thermal irritant or contaminant, including smoke, vapor, soot,
     fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned or
     reclaimed.




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     Subparagraphs (a) and (d)(i) of paragraph (1) of this exclusion do not apply to "bodily injury" or "property
     damage" caused by heat, smoke or fumes from a hostile fire. As used in this exclusion, a hostile fire means
     one which becomes uncontrollable or breaks out from where it was intended to be.

     (f)   injury" for which any insured may be held liable by reason of:

           (1)     Causing or contributing to the intoxication of any person;

           (2)     The furnishing of alcoholic beverages to a person under the legal drinking age or under the influence
                   of alcohol; or

           (3)     Any statute, ordinance or regulation relating to the sale, gift, distribution or use of alcoholic
                   beverages.

     (g) "Property damage" to:

           (1)     Property any Insured owns, rents, or occupies.

           (2)     Premises any insured sells, gives away or abandons; If the "property damage" arises out of any part
                   of those premises.

           (3)     Property loaned to any insured.

     (h)    "Property damage" to "your product" arising out of it or any part of it.

     (I)   "Property damage" to "your work" arising out of it or any part of it and included in the "products-
           completed operations hazard".

     (J)    "Property damage" to Impaired property" or property that has not been physically injured, arising out of:

            (1)    A defect, deficiency, inadequacy or dangerous condition in "your product" or "your work"; or

           (2)     A delay or failure by you or anyone acting on your behalf to perform a contract or agreement in
                   accordance with its terms.

     (k) Damages claimed for any loss, cost or expense Incurred by you or others for the loss of use, withdrawal,
          recall, inspection, repair, replacement, adjustment, removal or disposal of:

            (1)    "Your product";

            (2)    "Your work"; or

            (3)    "Impaired property";

           if such product, work or property is withdrawn or recalled from the market or from use by any person or
           organization because of a known or suspected defect, deficiency, inadequacy or dangerous condition in
           it,

     (I)   Any obligation imposed under any of the following laws:

           (1)     Employee's Retirement Income Security Act (ERISA) of 1974 as now or hereafter amended, or

            (2)    any first party personal injury, automobile no-fault, uninsured motorists, underinsured motorists law
                   or any similar law.

     (m)    "injury" excluded by the Nuclear Energy Liability Exclusion Endorsement attached to this policy.

     (n)    "Injury" arising out of the rendering of or failure to render any professional services.

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     (o)   "Injury" due to war, whether or not declared, or any act or condition Incidental to war. War includes
           civil'war, Insurrection, rebellion or revolution.

     (p)   Any obligation to reimburse an insurer as provided by the Terms of the Endorsement for Motor Carrier
           Policies of Insurance For Public Liability Under Sections 29 and 30 of the Motor Carrier Act of 1980 or
           under the Terms of any similar endorsement required by Federal or state statute.

3.   DEFENSE OF CLAIMS OR SUITS

     (a) We have the right to defend claims or "suits" against any insured seeking damages payable under this
          insurance. We may make:

           (1)    Investigation of any claim or "suit", and

           (2)    Settlement within the applicable Amount of Insurance available;

           as we think appropriate.

     (b) At our option, our right to defend such claims or "suits" ends when we have used up the Amount of
          Insurance available, as provided under SECTION Ill - LIMITS OF INSURANCE, This applies both to claims
          and "suits" pending at that time and those filed thereafter. you will then arrange to assume control of
          the defense of all such claims and "suits" against you or any other insured when our right to defend
          them ends.

     (c)   When we control the defense of a claim or "suit" we will pay for the "defense expense." If by mutual
           agreement or court order the insured assumes control before the applicable Amount of Insurance
           available is used UP)WO will reimburse the insured for reasonable "defense expense,"

     (d) As soon as practicable after we become aware that the Amount of Insurance available Is used up:

           (1)    We will notify you of any outstanding claims and "suits" subject to that Amount; and

           (2)    You will than arrange to assume control of the defense of all such claims and "suits" against you or
                  any other Insured when our right to defend them ends.

     (a) We will assist the Insured in the transfer of control of the defense of claims and "suits" under (c) or (d)
          above. Until such arrangements are completed, we will take on behalf of any insured those steps that
          we think appropriate:

           (1)    To avoid a default in any claim or "suit"; or

           (2)    To the continued defense of a claim or "suit."

           You agree that if we take such steps:

           (1)    We do not waive or give up any of our rights under this insurance; and

           (2)    You will reimburse us for any "defense expense" that arises out of such Steps if the Amount of
                  Insurance available has been used up.

4.   SELF-INSURED RETENTION - PER INCIDENT

     As respects Coverage B, we will only pay for damages in excess of the sell-insured retention, up to the
     amount of insurance available. The self-insured retention does not apply to the payment of "defense
     expense."




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     The self-insured retention is the amount stated in the Declarations, and shall apply separately to all damages
     because of Injury" as a result of any one Incident" regardless of the number of persons or organizations
     who sustain damages because of that "incident,"

SECTION Ii- WHO IS AN INSURED
COVERAGE A AND B

1.   if you are designated in the Declarations as:

     (a)   An individual, you and your spouse are Insureds, but only with respect to the conduct of a business of
           which you are the sole owner.

     (h)   A partnership or Joint venture, you are an insured, your members, your partners, and tl,efr spouses are
           also Insureds, but only with respect to the conduct of your business.

     (e) An organization other than a partnership or joint venture, you are an insured. Your executive officers
          and directors are Insureds, but only with respect to their duties as your officers or directors. Your
          stockholders are also Insureds, but only with respect to their liability as stockholders.

2.   Each of the following Is also an insured:

     (a)   Your employees, other than your executive officers, but only for acts within the scope of their
           employment by you.

           However, none of these employees is an insured for "bodily Injury" or -personal Injury" to you or to a co-
           employee while in the course of his or her employment,

     (b)   Any person (other than your employee) or any organization while acting as your real estate manager.

     (c). Any person or organization having proper temporary custody of your property if you die, but only:

           (1)   With respect to liability arising out of the maintenance or use of that property; and

           (2)   Until your legal representative has been appointed.

     (d)   Your legal representative if you die, but only with respect to duties as such. That representative will
           have all your rights and duties under this policy,

3.   Any organization you newly acquire or form, other than a partnership or joint venture, and over which you
     maintain ownership or majority Interest, will be deemed to be a Named Insured it there is no other similar
     insurance available to that organization. However:

     (a)   Coverage under this provision Is afforded only until the 90th day after you acquire or form the
           organization or the end of the policy period, whichever is earlier;

     (b)   Coverage does not apply to "bodily Injury" or "property damage" that occurred before you acquired or
           formed the organization; and

     (c)   Coverage does not apply to "personal injury" or "advertising injury" arising out of an offense committed
           before you acquired or formed the organization.

No person or organization is an insured with respect to the conduct of any current or past partnership or joint
venture that is not shown as a Named Insured in the Declarations.

SECTION Ill - LIMITS OF INSURANCE
COVERAGE A AND B


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1*   The limits of Insurance shown in the Declarations and the rules below fix the most we will pay under the
     ter ms of this insurance regardless of the number of:

     (a)   insureds;

     (b)   Claims made or 'suits" brought;

     (C)   Persons or organizations making claims or bringing "suits?

2.   The Amount of insurance stated as the General Aggregate Limit is the most we will pay for the damages
     under Coverages A and B, other than damages because of "injury" or damage

     (a)   included within "the products-completed operations hazard"; or

     (b)   arising out of the ownership, operation, maintenance, use, loading or unloading, or entrustment to others
           of an auto;

     Each payment we make for such damages reduces by the amount of the payment the General Aggregate
     Limit. This reduced limit will then be the Amount of Insurance available for further damages of these kinds.

3.   The Amount of Insurance stated as the Products-Completed Operations Aggregate Limit is the most we will
     pay under Coverages A and B for damages because of injury" or damage Included in the products-
     completed operations hazard', and

     Each payment we make for such damages reduces by the amount of the payment the Products-Completed
     Operations Aggregate Limit. This reduced limit will then be the Amount of Insurance available for further
     damages of these kinds.

4,   Subject to 2. or 3. above, whichever applies, or with respect to injury" or damage arising out of the
     ownership, operation, maintenance, use, loading or unloading, or entrustment to others of an auto, the each
     Incident Limit is the most we will pay for the sum of damages under Coverages A and B because of all
     'Injury" and damage arising out of any one incident."

5.   The Limits of this policy apply separately to each consecutive annual period and to any remaining period of
     less than 12 months, starting with the beginning of the policy period shown in the Declarations, unless the
     policy period is extended alter issuance for an additional period of less than 12 months, In that case, the
     additional period will be deemed part of the last preceding period for purposes of determining the Limit of
     Insurance.

6.   Expenses incurred by or for the insured to investigate, negotiate, settle, or defend any claim or suit are
     payable by the company in addition to the limits of insurance.


SECTION IV - CONDITIONS

1.   APPEALS

     In the event the "underlying insurer" elects not to appeal a judgment in excess of the limits of the "underlying
     insurance," we may elect to make such appeal. if we so elect, we shall be liable, in addition to the applicable
     Amount of Insurance, for all "defense expenses" we incur.

2.   BANKRUPTCY OF UNDERLYING INSURER

     In the event of bankruptcy or insolvency of any "underlying insurer," the insurance afforded by this policy
     shall not replace such "underlying insurance," but shall apply as if the "underlying insurance" was valid and
     collectible.




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3.   DUTIES IN THE EVENT OF "INCIDENT." CLAIM OR "SUIT'

      (a) You must see to it that we are notified as soon as practicable of an incident" which may result in a
           claim to which this insurance applies. To the extent possible notice should include:

           (1)    How, when and where the incident" took place;

           (2)    The names and addresses of any injured persons and witnesses; and

           (3)    The nature and location of any injury" or damage arising out of the "  incident.-
           Notice of an'incident' is not notice of a claim.

     (b) If a claim is received by any insured you must:

           (l)    immediately record the specifics of the claim and the date received; and

           (2) Notify us as soon as practicable.

           You must see to it that we receive written notice of the claim as soon as practicable.

     (c) You and any other involved insured must:

           (1)    immediately send us copies of any demands, notices, summonses or legal papers received in
                  connection with the claim or a "suit."

           (2)    Authorize us to obtain records and other information;

           (3)    Cooperate with us in the investigation, settlement or defense of the cialrn or 'suit"; and

           (4)    Assist us, upon our request, in the enforcement of any right against any person or organization
                  which may be liable to the insured because of injury" or damage to which this Insurance may also
                  apply.

           (5)    Notify us immediately of any judgment or settlement of any claim or suit brought against any
                  Insured.

     (d) No insureds will, except at their own cost, voluntarily make payment, assume any obligation, or incur
          any expense, other than for first aid, without our consent.

4.   MAINTENANCE OF UNDERLYING INSURANCE (APPLICABLE TO COVERAGE A)

     (a)   You agree to maintain the "underlying insurance" in full force and effect during the term of this policy,
           and to inform us within 30 days of any replacement of that "underlying Insurance" by the same or
           another company.

     (b) You must notify us immediately:

           (1)    Of any changes to the "underlying insurance." We may adjust our premium accordingly from the
                  effective date of the change to the "underlying Insurance";

           (2)    11 any "underlying insurance" is cancelled or not renewed and you do not replace it, the insurance
                  afforded by this policy shall apply as if the "underlying insurance" was valid and collectible.

     (c) Reduction or exhaustion of the "aggregate limit" of any "underlying insurance" by payments for
          judgments, settlements or awards will not be a failure to maintain "underlying insurance" in full force and
          effect


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     (d)   No statement contained in this Condition limits our right to cancel or not renew this policy.

5.   OTHER INSURANCE

     This insurance is excess over any other valid and collectible insurance whether primary, excess, contingent or
     any other basis, except other insurance written specifically to be excess over this insirance.

6.   POLICY PERIOD

     This Insurance will respond to Injury" or damage that occurs, or arises from an offense committed, during the
     policy period of this insurance shown In the Declarations,

7,   PREMIUM AUDIT

     (a)   We will compute all premiums for this policy in accordance with our rules and rates.

     (b)   Premium shown in this policy as advance premium is a deposit premium only. At the close of each audit
           period we will compute the earned premium for that period. Audit premiums are due and payable on
           notice to the first Named Insured. if the sum of the advance and audit premiums paid for the policy term
           Is greater than the earned premium, we will return the excess to the first Named Insured. If the policy
           Limit of this Insurance is used up prior to the end of the policy period, the premium is fully earned.

     (c) The first Named Insured must keep records of the information we need for premium computation, and
         send us copies at such times as we may request.

8. CANCELLATION

     (a)   The first Named Insured shown in the Declarations may cancel this policy by mailing or delivering to us
           advance written notice of cancellation.

     (b) We may cancel this policy by mailing or delivering to the first Named insured written notice of
          cancellation at least

           (1)   10 days before the effective date of cancellation if we cancel for nonpayment of premium; or

           (2)   60 days before the effective date of cancellation if we cancel for any other reason.

     (c) We will mail or deliver our notice to the first Named Insured's last mailing address known to us.

     (d)   Notice of cancellation will state the effective date of cancellation. The policy period will and on that
           date.

     (e) If this policy is cancelled, we will send the first Named insured any premium refund due. If we cancel,
           the refund will be pro rate. If the first Named Insured cancels, the refund may be less than pro rata.
           The cancellation will be effective even if we have not made or offered a refund.

     (f)   If notice is mailed, proof of mailing will be sufficient proof of notice.

9. REPRESENTATIONS

     By accepting this policy, you agree:

     (a)   The statements in the Declarations are accurate and complete;

     (b)   Those statements are based upon representations you made to us; and

     (c)   We have issued this policy in reliance upon your representations.


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10. SEPARATION OF INSUREDS

     Except with respect to the Limits of Insurance, and any rights or duties specifically assigned in this policy to
     the first Nomad insured, this Insurance applies:

     (a)   As if each Named Insured were the only Named Insured; and

     (b)   Separately to each insured against whom claim is made or "suit" is brought.

11. TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US

     If the insured has rights to recover all or part of any payment we have made under this policy, those rights
     are transferred to us. The insured must do nothing after loss to impair them. At our request, the Insured will
     bring "suit" or transfer those rights to us and help us enforce them.

SECTION V - DEFINITIONS
COVERAGE A

1,   "Aggregate limit" means the maximum amount stated In the policy for which the insurer will be liable,
     regardless of the number of covered claims.

2.   "Defense expense' means payments allocated to a specific claim or suit for its investigation, settlement, or
     defense, including:

     (a)   Attorney fees and all other litigation expenses.

     (b)   The cost of bonds to appeal a Judgment or award in any suit we defend.

     (c)   Up to 250 for the cost of bail bonds required because of accidents or traffic law violations arising out
           of the use of any vehicle to which Bodily Injury Liability coverage provided by underlying insurance
           applies.

     (d)   The cost of bonds to release attachments, but only for bond amounts within the Amount of Insurance
           available.

     (e)   Reasonable expenses incurred by the insured at our request to assist us in the investigation or defense of
           the claim or suit, including actual loss of earning up to 100 a day because of time off from work.

     (f)   Cost taxed against the insured in the suit.

     (g)   Interest on the full amount of any Judgment that accrues after entry of the judgment and before we have
           paid, offered to pay, or deposited In court the amount available for the judgment under the provisions of
           SECTION III - LIMITS OF INSURANCE,

     "Defense expense" does not include:

     (a)   Salaries and expenses of our employees or the insured's employees, other than:

           (1)    That portion of our employed attorney's fees, salaries and expenses allocated to a specific claim or
                  suit; and

           (2)    The expenses described in (e) above.

     (b) Fees and expenses of independent adjusters we hire.




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3. "Incident" means:

      (a)   With respect to bodily Injury to persons other than your employees and property damage, an accident,
            Including continuous or repeated exposure to substantially the same general harmful conditions;

      (b)   With respect to bodily Injury to your employees arising out of and in the course of their employment by
            you, the accident or disease which causes the bodily Injury; and

      (c)   With respect to offenses committed by the insured resulting in personal injury or advertising injury, all
            such Injury sustained by any one person or organization.

4.    "Occurrence limit" means any specific limit, other than an "aggregate limit," applicable to any "underlying
      Insurance," regardless of whether such limit is subject to an "aggregate limit" in the "underlying policy."

15.   "Underlying insurance' means the liability insurance coverage provided under policies shown in the
      SCHEDULE OF UNDERLYING INSURANCE, for the limits and periods indicated. It includes any policies issued
      to replace those policies during the term of this insurance that provide:

      (a)   At least the same policy limits;

      (b)   The same hazards Insured against, except as modified by general program revisions or as agreed to by us
            in writing; and

6.    "Underlying insurer" means any insurer who Issues a policy of "underlying Insurance."

7.    'Underlying policy" means a policy providing "underlying insurance."




1.    "Advertising injury" means "Injury' arising out of one or more of the following offenses:

      (a)   Oral or written publication of materiel that slanders or libels a person or organization or disparages a
            person's or organization's goods, products or services;

      (b)   Oral or written publication of material that violates a person's right of privacy;

      (c)   Misappropriation of advertising ideas or style of doing business; or

      (d)   Infringement of copyright, title or slogan, committed in the course of advertising your goods, products or
            services.

2.    "Bodily injury" means bodily injury, sickness or disease sustained by a person, including death resulting from
      any of these at any time.

3.    "Coverage Territory" means anywhere in the world if the insured's responsibility to pay damages is
      determined in a "suit" brought in the United States of America (including its territories and possessions),
      Puerto Rico and Canada or in a settlement we agree to.

4.    "Defense expense" means payments allocated to a specific claim or "suit" for its investigation, settlement, or
      defense, including:

      (a)   Attorney fees and all other litigation expenses.

      (b)   The cost of bonds to appeal a judgment or award in any "suit" we defend.

      (c)   Up to $250 for the cost of bail bonds required because of accidents or traffic law violations arising out
            of the use of any vehicle to which Bodily Injury Liability coverage under this insurance applies.

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     (d)   The cost of bonds to release attachments, but only for bond afliOUntS within the Amount of Insurance
           available.

     (e)   Reasonable expenses incurred by the insured at our request to assist us in the investigation or defense of
           the claim or suit", including actual loss of earnings up to $100 a day because of time off from work.

      I    Cost taxed against the insured in the suit.

     (g)   Interest on the full amount of any Judgment that accrues after entry of the judgment and before we have
           paid, offered to pay, or deposited in court the amount available for the judgment under the provisions of
           SECTION Ill - LIMITS OF INSURANCE.

     "Defense expense- does not include:

     (a)   Salaries and expenses of our employees or the Insured's employees, other than:

           (1)    That portion of our employed attorney's fees, salaries and expenses allocated to a specific claim or
                  "suit"; and

           (2)    The expenses described In (e) above.

     (b) Fees and expenses of Independent adjusters we hire.

5,   "Impaired property means tangible property, other than "your product" or your work," that cannot be used
     or is less useful because:

     (a)   It Incorporates'your product" or "your work," that is known or thought to be defective, deficient,
           inadequate or dangerous; or

     (b)    You have failed to fulfill the terms of a contract or agreement;

     if such property can be restored to use by:

     (a)    The repair, replacement, adjustment or removal of "your product" or "your work"; or

     (b)    Your fulfilling the terms of the contract or agreement.

6. "Incident" moans:

     (a)    With respect to "bodily injury" to persons other than your employees and "property damage" an
            accident, including continuous or repeated exposure to substantially the same general harmful
            conditions;

     (b)    With respect to "bodily injury" to your employees arising out of and in the course of their employment by
            you, the accident or disease which causes the "bodily injury"; and

     (c)    With respect to offenses committed by the insured resulting in "personal injury," all such "injury"
            sustained by any one person or organization.

7.   "Injury" means "bodily injury," "property damage," "advertising injury" or "personal Injury."

8.   "Personal Injury" means "Injury," other than "bodily injury," arising out of one or more of the following
     offenses:

     (a) False arrest, detention or imprisonment;

     (h) Malicious prosecution;


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     (c)   Wrong fut entry into, or eviction of a person from, a room, dwelling or premises that the person occupies;

     (d)   Oral or written publication of material that slanders or libels a person or organization or disparages a
           person's or organization's goods, products or services; or

     (e)   Oral or written publication of material that violates a person's right of privacy, arising out of the conduct
           of your business, excluding advertising, publishing, broadcasting or telecasting done by or for you.

9.   (a) "Products-completed operations hazard" includes all 'bodily injury" and "property damage" occurring
           away from premises you own or rent and arising out of "your product" or "your work" except:

           (1)    Products that are still in your physical possession; or

           (2)    Work that has not yet been completed or abandoned.

     (b)   "Your work" will be deemed completed at the earliest of the following times:

           (1)    When all of the work called for in your contract has been completed.

           (2)    When all of the work to be done at the site has been completed If your contract calls for work at
                  more than one site.

           (3)    When that part of the work done at a jab site has been put to Its intended use by any person or
                  organization other than another contractor or subcontractor working on the same project,

           Work that may need service, maintenance correction, repair or replacement, but which is otherwise
           complete, will be treated as completed.

     (c) This hazard does not include "bodily Injury" or "property damage" arising out of:

           (1)    The transportation of property, unless the injury" or damage arises out of a condition in or on a
                  vehicle created by the "loading or unloading" of it;

           (2)    The existence of tools, uninstalled equipment or abandoned or unused materials.

10. "Property damage" means:

     (a)   Physical injury to tangible property, including all resulting loss of use of that property; or

     (b)   Loss of use of tangible property that is not physically injured.

11. 'Suit,means a civil proceeding in which damages to which this insurance applies are alleged."Suit' includes
     an arbitration proceeding alleging such damages to which you must submit or submit with our consent.

12. "Your product" means:

     (a)   Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed of
           by:

           (1)    You;

           (2)    Others trading under your name; or

           (3)    A person or organization whose business or assets you have acquired; and

     (b)   Containers (other than vehicles), materials, parts or equipment furnished in connection with such goods
           or products.


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     "Your product" Includes warranties or representations made at any time with respect to the fitness, quality,
     durability or performance of any of the items included In (a) and (bI above.

     "Your product" does not Include vending machines or other property rented to or located for the use of others
     but not sold.

13. "Your work" means:

     (a)    Work or operations performed by you or on your behalf; and

     (b)    Materials, parts or equipment furnished in connection with such work or operations.

     "Your work" includes warranties or representations made at any time with respect to the fitness, quality,
     durability or performance of any of the items included in (a) or (b) above.


NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT (broad Form)


1. The insurance does not apply:

     (a) Under any Liability Coverage, to "bodily Injury" or "property damage":

            (1)   With respect to which an "insured" under the policy Is also an insured under a nuclear energy
                  liability policy Issued by Nuclear Energy Liability Insurance Association, Mutual Atomic Energy
                  Liability Underwriters, Nuclear insurance Association of Canada or any of their successors, or would
                  be an Insured under any such policy but for its termination upon exhaustion of its limit of liability; or

            (2)   Resulting from the "hazardous properties" of "nuclear material" and with respect to which [a] any
                  person or organization is required to maintain financial protection pursuant to the Atomic Energy
                  Act of 19541 or any law amendatory thereof, or (1,) the "insured" is, or had this policy not been
                  Issued would be, entitled to indemnity from the United States of America, or any agency thereof,
                  under any agreement entered into by the United States of America, or any agency thereof, with any
                  person or organization.

     (b) Under any Medical Payments coverage, to expenses incurred with respect to "bodily injury" resulting
          from the "hazardous properties" of "nuclear material" and arising out of the operation of a "nuclear
          facility" by any person or orgatIzation,

     (c) Under any Liability Coverage, to "bodily injury" or "property damage" resulting from the "hazardous
          properties" of "nuclear material," if:

            (1)   The "nuclear material" ía) is at any "nuclear facility" owned by, or operated by or on behalf of, an
                  "insured" or (bJ has been discharged or dispersed therefrom;

            (2)   The "nuclear material" is contained in "spent fuel" or "waste" at any time possessed, handled,
                  used, processed, stored, transported or disposed of by or on behalf of an "insured"; or

            (3)   The "bodily Injury" or "property damage" arises out of the furnishing by an "insured" of services,
                  materials, parts or equipment in connection with the planning, construction, maintenance, operation
                  or use of any "nuclear facility," but If such facility Is located within the United States of America,
                  Its territories or possessions or Canada, this exclusion (3) applies only to "property damage" to such
                  "nuclear facility" and any property thereat.

2.   As used in this endorsement

     "Hazardous properties" includes radioactive, toxic or explosive properties;

     "Nuclear material" means "source material," "special nuclear material" or "byproduct material";

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     "Source material," "special nuclear material," and "by-product material' have the meanings given them in the
     Atomic 12 nergy Act of 1954 or in any law amendatory thereof;

     "Spent fuel" means any fuel element or fuel component, solid or liquid, which has been used or exposed to
     radiation in a nuclear reactor";

     "Waste" means any waste material [a] containing "by-product material" other than the tailings or wastes
     produced by the extraction or concentration of uranium or thorium from any ore processed primarily for its
     "source material" content, and [b] resulting from the operation by any person or organization of any "nuclear
     facility" included under the first two paragraphs of the definition of "nuclear facility."

     "Nuclear facility" means:

     (a)    Any "nuclear reactor";

     (b)    Any equipment or device designed or used for (1) separating the isotopes of uranium or plutonium (2)
            processing or utilizing "spent fuel," or (3) handling, processing or packaging "waste";

     (c)    Any equipment or device used for the processing, fabricating or alloying of "special nuclear material" if
            at any time the total amount of such material in the custody of the Insured" at the premises where such
            equipment or device Is located consists of or contains more than 25 grams of plutonium or uranium 233
            or any combination thereof, or more than 250 grams of uranium 235;

     (d)    Any structure, basin, excavation, premises or place prepared or used for the storage or disposal of
             waste";

     and includes the site on which any of the foregoing is located, all operations conducted on such site and all
     premises used for such operations;

     "Nuclear reactor means any apparatus designed or used to sustain nuclear fission in a self-supporting chain
     reaction or to contain a critical mass of fissionable material;

     "Property damage" includes all forms of radioactive contamination of property.




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                                                                                   II
                                                                THIS ENDORSEMENT CHANGES THE POLICY.

'1          ~iojgpcolepanies                                           PLEASE READ IT CAREFULLY.



'This ortdorsemett is EFFECTIVE January 31. 199L                    *and Is port of Policy Number NU1Ot 368

9ssued to; Wanner 09 Company

 Entry optional It shown In the Policy Declataiions., If no entry is shown, the eflective date of the endorsement Is
 The some as the effective date of the policy.

                                       SCHEDULE OF UNDERLYING INSURANCE

All underlytria Insurance will be maintained in full effect   during the owieney ol this policy.

       :COMPANY                                               -   POLICY TEFIM
                                 -.




       A. NortttfieidInsurance Co.                                01-31-99100
       B. American States Insurance Co.                           01-31-9    '

       C. E to Pacific                                            01-31-9 199
       D. Eagle Pacific                                           01-31-9 (99
       E. Fieemans Fund Insurance Co.


        A.         GENERAL LIABILITY      $    1.000,000          Each Occurrence Limit (81 & PD)
                                          $    2,000,000          General Aggregate
                                          $    11000.000          Products-Completed
                                                                  Operations Aggregate
                                          $    1.000.000          Underground Resources & Equipment
                                                                  Aggregate
            __...._.....:.



        B. AUTO LIABILITY                 $    1,000,000          Each Accident Limit

        C. EMPLOYERS LIABiLITY            $    1.000.000          Each Accident Limit
                                          $    1,000,000          Bodily Injury by Disease Policy Limit
                                                                                           -



                                          5    1,000.000          Disease - Each Employee                      -
        --



        D.          MARITIME EMPLOYERS    $    1.000,000          Each Accident Limit
                    LIABILITY

        E.          CHARTERERS   LEGAL     $   1,000,000          Each Accident Limit
        -           LIABILITY

        All other terms and conditions remain unchanged.



                                                                                 Authorized Representative




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                                                                                                             Northfield 0O0
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                                                             THIS ENDORSEMENT CHANGES THE POLICY.
 '  Northland
I • Insurance Companies                                                  PLEASE READ IT CAREFULLY.




*This endorsement is EFFECTIVE         EFFDATE                     *and is part of Policy Number:   oNUMBERo

 issued to: CASSONAME"

*Entry optional if shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                               MINIMUM EARNED PREMIUM ENDORSEMENT

This endorsement modifies insurance provided under the following:

                                         ALL COVERAGE PARTS IN THIS POLICY


This policy is subject to a minimum earned premium.                                                  -

If this policy is canceled at your request, you agree with us:

1.   That the minimum earned premium for this policy Is the greater of $1,000 or 25% of the Total Premium;

2,   That such minimum earned premium is not subject to short rate or pro-rate adjustment; and

3.   That cancellation for non-payment of premium, after the effective date of the policy, shall be deemed a
     request by you for cancellation of this policy and will activate this minimum earned premium provision.




All other terms and conditions remain unchanged.




                                                                 BY:




P063.00 (10/97)




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                                                            THIS ENDORSEMENT CHANGES THE POLICY.
  Northland
& Insurance                                                        PLEASE READ IT CAREFULLY.
            Companies

'This endorsement Is EFFECTIVE CEFPDATE                         'and is part of Policy Number:    aNUMBERu,

'issued to: CASSDNAME

"Entry optional if shown in the Policy Declarations, if no entry Is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                                  EXCLUSION - ASBESTOS, SILICA DUST

This endorsement modifies insurance provided under the following:

                               COMMERCIAL UMBRELLA LIABILITY COVERAGE PART

This Insurance does not apply to "bodily injury," "property damage," "personal Injury," advertising Injury," or
medical expense arising out of the following diseases:

a. Asbestosis
b. Silicosis
c. Mesothelloma
d. Emphysema
a. Pneumoconiosis
f. Pulmonary Fibrosis
g. Pleuritis
  . Endothelioma

or any lung disease or any ailment caused by, or aggravated by, asbestos in any form or silica dust.

This insurance does not apply to any:

a. Damages arising out of the existence of asbestos in any form or silica dust, including the costs of remedial
   Investigations or feasibility studies, or to the costs of testing, monitoring, abatement, mitigation, cleaning,
   removal, or disposal of any property or substance;

b. Damages arising out of any supervision, Instructions, recommendations, warnings or advice given or which
   should have been given in connection with the above; or

c.   Obligation to share damages with or repay someone else who must pay damages in connection with any of the
     above.




All other terms and conditions remain unchanged.




                                                              BY:




P619OG (10/97)




                                                                                                     Northfield 0009I0
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                                                              THIS ENDORSEMENT CHANGES THE POLICY.
             Northland                                               PLEASE READ IT CAREFULLY.
             Insurance Companies

*This endorsement is EFFECTIVE           EFFDATE                   *and is part of Policy Number: NUMBER,

*issued to; ASSONAME

*Entry optional if shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement
is the same as the effective date of the poIicy.

                               EMPLOYMENT-RELATED PRACTICES EXCLUSION

This endorsement modifies insurance provided under the following:

                                 COMMERCIAL UMBRELLA LIABILITY COVERAGE PART

It is agreed that this insurance does not apply to injury" to:

1.    A person arising out of any:

      (a)    Refusal to employ that person;

      (b)    Termination of that person's employment; or

      (c)    Employment-related practices, policies, acts or omissions, such as coercion, demotion, evaluation,
             reassignment, discipline, defamation, harassment, humiliation or discrimination directed at that person;

2.    The spouse, child, parent, brother or sister of that person as a consequence of injury" to that person at
      whom any of the employment-related practices described in paragraphs (a), (b) or (c) above is directed; or

3     Any other person as a consequence of injury" to that person at whom any of the employment-related
      practices described in paragraphs (a), lb) or (C) above is directed.

This exclusion applies:

(1)   Whether any insured may be liable as an employer or in any other capacity; and

(2)   To any obligation to share damages with or repay someone also who must pay damages because of the
      Injury.




All other terms and conditions remain unchanged




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P620-OG (10197)




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                                                            THIS ENDORSEMENT CHANGES THE POLICY.
          Northland                                                PLEASE READ IT CAREFULLY.
k         Insurance Companies

*This endorsement is EFFECTIVE oEFFDATEj                       *and is part of Policy Number: xNUMBER,,

*issued to: ASSDNAME

  Entry optional if shown in the Policy Declarations, If no entry Is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                         AUTOMOBILE LIABILITY LIMITATION ENDORSEMENT

This endorsement modifies insurance provided under the following:

                              COMMERCIAL UMBRELLA LIABILITY COVERAGE PART


It is agreed that Coverage B of this Insurance does not apply to any liability for "bodily injury" or "proerty
damage" arising out of the ownership, maintenance, operations, use, loading or unloading of any automobile.




All other terms and conditions remain unchanged.




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           Insurance Companies
                                                              THIS ENDORSEMENT CHANGES THE POLICY.
                                                                     PLEASE READ IT CAREFULLY.



*This endorsement Is EFFECTIVE          EFFDATE'                  *and is part of Policy Number:     NUMBER

*issue d to: sASSDNAME'

  Entry optional if shown in the Policy Declarations, If no-entry Is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                               OIL INDUSTRY AMENDATORY ENDORSEMENT
                                          "COVERAGE A & B" -

This endorsement modifies insurance provided under the following:

                                COMMERCIAL UMBRELLA LIABILITY COVERAGE PART


It Is hereby understood and agreed that this policy will not apply to:


i     '!*t'1J11k

     Liability for loss of or damage to any well or hole being drilled by you or on your behalf and/or any well or
     hole which Is in your care, custody or control or for which you are or may be responsible, and any cost or
     expense incurred In redrilling or restoring the well or hole or any substitute well or hole.

2. IN-HOLE EQUIPMENT

     Liability for loss of or damage to any drilling tool, pipe, collar, casing, bit, pump, drilling or well servicing
     machinery, or any other equipment while below the surface of the earth in any well or hole being drilled by
     you or on your behalf and/or In any well or hole which Is in your care, custody or control or for which you are
     or may be responsible.

3.   COST OF CONTROL

     Liability for costs or expenses incurred in:

     a.    Controlling or bringing under control any wells or holes, or

     b.   Extinguishing fire in or from any such wells or holes, or

     C.   Drilling relief wells or holes, whether or not the relief wells or holes are successful.

     It Is further understood and agreed that when any Insured is an operator or a non-operator as described In the
     applicable operating agreement, this exclusion shall only apply to an "occurrence" which causes loss to any
     well(s) and/or holes in which you have a working interest. If, however, any insured is not an operator or non-
     operator as defined in the applicable operating agreement this qualifying paragraph shall not apply.

4.   SUBSIDENCE

     Loss of, damage to or loss of use of property directly or indirectly resulting from subsidence caused by any
     insured's subsurface operations.



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5. CO-OWNER

      This insurance does not apply to any liability damages claimed by any "Co-owner of the working interest.-

      "Co-owner of the working interest" means any person or organization who Is, with you, a co-owner, joint
      venturer or mining partner in mineral properties who:

      a.    Participates in the operating expense of such properties or

      b.    Has the right to participate In the control, development or operation of such properties.

     However, it Is further understood and agreed that the preceding paragraph shall not under any circumstances
     be construed to exclude coverage for the liability of co-venturers, partners or co-owners for which you are
     responsible to provide Insurance as respects third parties who are not insureds under this policy, as defined.

6. EXCLUSION - LEAD

     This insurance does not apply to:

     a.    "Bodily Injury," "property damage," "advertising Injury," "personal injury," or medical expense arising out
           of lead or the hazardous properties of lead.

     b. Any damages for remedial Investigations or feasibility studies or the Costs of testing, monitoring,
        abatement, mitigation, cleaning, removal or disposal of lead or any item(s) containing lead.

     c. Any damages arising out of any supervision, instructions, recommendations, requests, warnings, or advice
        given or which should have been given in connection with b. above.

     d. Any obligation to share damages with or repay someone else who must pay damages in connection with
        a., b., or c. above.




All other terms and conditions remain unchanged.




                                                              BY




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          Jnsurance Companies

'This endorsement is EFFECTIVE
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                                                               THIS ENDORSEMENT CHANGES THE POLICY.
                                                                      PLEASE READ IT CAREFULLY.



                                                                   'and is part of Policy Number:     NUMBER

'issued to: CASSDWAME

'Entry optional if shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                                            POLLUTION ENDORSEMENT

This endorsement modifies insurance provided under the following:

                                 COMMERCIAL UMBRELLA LIABILITY COVERAGE PART


Effective at inception and in consideration of the premium charged, it is understood and agreed that SECTION I -
COVERAGE A. - EXCESS LIABILITY COVERAGE Paragraph 2. EXCLUSIONS Is amended to include the following:

(g) Bodily injury, property damage, personal injury, loss of, damage to or loss of use of property, or any other form
    of liability or damages to which any insured may be subject arising out of the actual, alleged, or threatened
    discharge, dispersal, release, seepage, migration or escape of pollutants at any time at any location by
    whomsoever caused;
iki Oo'I,
TflIs exclusion does not apply to bodily injury, property damage, or personal Injury If such discharge, dispersal,
release or escape meets all five of the following conditions:

           (i)    The discharge, dispersal, release or escape must be an accident which was not intended by any
                  insured. However, this condition would not serve to deny coverage for a specific incident where
                  such discharge, dispersal, release or escape of pollutants was a result of an attempt by any insured
                  to mitigate or avoid a situation where third party bodily injury, property damage, or personal injury
                  could occur; and

          (ii)    The beginning of the discharge, dispersal, release or escape must take place during the policy
                  period specified in the Declarations; and


          (iii)   The discharge, dispersal, release or escape did not result from your willful violation of any
                  government statute, rule or regulation; and


          (iv)    The discharge, dispersal, release or escape must become known to you within:

                  (a)   180 days of its commencement if you are acting as a non-operator, as designated in the
                        applicable operating agreement; or

                  (b)   90 days of its commencement if you are acting as an operator, as designated in the applicable
                        operating agreement; or

                  (c)   30 days of its commencement if you are acting as anything other than an operator or non-
                        operator, as designated in the applicable operating agreement; and




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        (v)        The discharge, dispersal, release or escape must be reported in writing to us as soon as practicable,
                   lut not longer than 90 days from the date of discovery by you.

     For purposes of complying with the requirements of this paragraph, notice to us by any insured constitutes
     notice by all insureds.

If any such actual, alleged or threatened discharge, dispersal, release or escape of pollutants results from a well
out of control, as defined herein, coverage provided by this endorsement will always apply excess of the limits
provided under an insured's control of well policy, as applicable.

Nothing contained in this endorsement shall operate to provide any coverage with respect to:

(1) Any loss, cost or expense arising Out of any request, demand or order, including demands, directives,
     complaints, suits, orders, or requests brought by any governmental entity or any person, entity or group of
     persons or entities, that any Insured or any person or entity for whom any insured may be legally responsible,
     to test for, assess, monitor, clean up, remove, contain, treat, or detoxify, neutralize or any way respond to or
     assess the effects of any pollutants resulting from:


              (U      Waste or disposal sites which were, or currently are, owned, operated, or used by any Insured, or
                      were or currently are utilized by others acting for any insured and/or on any insured's behalf. This
                      exclusion (i) shall not apply with regard to saltwater disposal operations;

              (ii)    Disposal or dumping at any such waste or disposal site(s) of any seeping and/or polluting and/or
                      contaminating substances or materials or waste substance(s) or waste material(s) of whatsoever
                      nature. This exclusion (ii) shall not apply with regard to saltwater disposal operations;


              (iii)   Conveyancing, carriage or transportation to or from such waste or disposal site(s) of any seeping
                      and/or polluting and/or contaminating substances or materials or waste substance(s) or waste
                      material(s) of whatsoever nature. This exclusion (iii) shall not apply with regard to saltwater
                      disposal operations; and,

              For purposes of this endorsement, mud pits are not considered a waste or disposal site.

(2) Fines, or penalties which result directly from any willful violation or non-compliance with any current rule,
     regulation or law applicable at the time of loss.

(3) Removal of, loss of, or damage to subsurface oil, gas or any other substance or materialist.

(4) Any voluntary or mandated loss, costs, or expense arising from past or present operations performed at sites
     appearing on the "National Priorities List of Superfund Sites".

For purposes of this Endorsement the following definitions apply:

     "Pollutants" means any solid, liquid, gaseous or thermal irritant, contaminant or waste, including but not
     limited to saline, saltwater, smoke, vapors, soot, dust, fumes, acids, alkalis and chemicals. Waste includes
     any materials which are intended to be recycled, reconditioned or reclaimed, regardless of whether the waste
     has the effect of making something Impure or hazardous.

     "Well" means a borehole sunk into the earth for the purpose of obtaining hydrocarbons and/or steam and/or
     sulphur and shall also include boreholes used for disposal of salt water or for injection of water or gas;
     including structural components and integral equipment therein from the bottom of the borehole through the
     casiaghead or wellhead assembly.




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                                                                                                          Northfield 00096
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           out of control's means an unintended and unexpected flow or expulsion from the well of drifting fluid, oil,
     gas and/or water, above or below the surface of the ground (or waterbottom in case of a well located In
     water) or when the well is declared to be out of control by the appropriate U.S. or Canadian regulatory
     authority which has jurisdiction over such well.




All other terms and conditions remain unchanged.




                                                             BY:




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                                                           THIS ENDORSEMENT CHANGES THE POLICY.
           Northland                                              PLEASE READ IT CAREFULLY..
    W Insurance Companies

*This endorsement Is EFFECTIVE        EFFDATE                  'and Is part of Policy Number     NUMBER

issued to: ASSDNAME'

 *Entry optional if shown in the Policy Declarations. if no entry is shown, the effective date of the endorsement
-is the same as the effective date of the policy.

                                  ADDITIONAL INSURED ENDORSEMENT

This endorsement modifies insurance Provided under the following:

                              COMMERCIAL UMBRELLA LIABILITY COVERAGE PART

Effective from Inception and In consideration of the premium charged, It Is understood and agreed that Additional
Insureds are covered under this policy as required by written contract, but only with respect to operations
performed by or for the Named Insured, under contracts normal to the Named Insured's operations, and only If
such Additional Insureds are also Additional Insureds under the"underlying Insurance."

It is further agreed and understood that any insured under an underlying policy scheduled herein Is an insured under
this policy, except as specifically excluded.



-ktl other terms and conditions remain unchanged.




                                                            BY:




P624-OG (10197)




                                                                                                  Northfield OOO
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                                                           THIS ENDORSEMENT CHANGES THE POLICY.
           Northland                                              PLEASE READ IT CAREFULLY.
k • Insurance Companies

'This endorsement is EFFECTIVE        EFFDATE                  and Is part of Policy Number: cNUMBER

'Issued to: ASSDNAME

'Entry optional if shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement
Is the same as the effective date of the policy.

                                        WAIVER OF SUBROGATION

This endorsement modifies insurance provided under the following:

                              COMMERCIAL UMBRELLA LIABILITY COVERAGE PART

In consideration of the premium charged and only if this same extension of coverage is included In the "underlying
insurance, It Is agreed that in the event of any payment under the terms of this policy, we waive oui rights of
subrogation as respects the Insured's right of recovery against parties requiring such waiver under a contract with
the Insured provided such waiver predated any uclaim?? under this insurance.




All other terms and conditions remain unchanged.




                                                            BY:




P625-OG (10197




                                                                                                 Northfield 00OGg
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                                                          THIS ENDORSEMENT CHANGES THE POLICY.
                                                                 PLEASE READ IT CAREFULLY.
k •        Insuranc     e Comp anies

*This endorsement Is EFFECTIVE        EFFDATE                 *and is part of Policy Number: ((NUM8ER)

*issued to: ASSDNAME'

*Entry optional if shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement
is the same as the effective data of the poIicy.

                         DUTIES IN THE EVENT OF INCIDENT ENDORSEMENT

This endorsement modifies insurance provided under the following:

                              COMMERCIAL UMBRELLA LIABILITY COVERAGE PART

Section IV CONDITIONS paragraph 3. Duties in The Event Of Incident, Claim Or Suit Is amended to include the
following paragraph:

e,   Notice of an "incident/p claim or 'Suit as required above, should be given to us as shown below:

     Northfield Insurance Company
     do Burke Daniels Co., Inc.
     Claims Department
     9301 Southwest Freeway, Suite 500
     Houston, Texas 77074



All other terms and conditions remain unchanged.




                                                           BY:




P628-OG (10197)




                                                                                                 Northfield DOJ13
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                                                               THIS ENDORSEMENT CHANGES THE POLICY.
 \\ UifluiU1FTiti                                                     PLEASE READ IT CAREFULLY.




'This endorsement is EFFECTIVE CEFFDATE                           'and is part of Policy Number: NUMBER

*Issued to: ASSDNAME

'Entry optional If shown In the Policy Declarations. If no entry is shown, the effective date of the endorsement
is the same as the effective date of the policy.

                     UNDERGROUND RESOURCES HAZARD PROPERTY DAMAGE

This endorsement modifies Insurance provided under the following:

                               COMMERCIAL UMBRELLA LIABILITY COVERAGE PART

In consideration of the premium charged, and only Insofar as coverage Is provided In the "Underlying Insurance"
Scheduled in this policy, coverage hereunder Is extended to include your liability for "property damao" to or
destruction of, including loss of use of underground resources.

The following provisions apply with respect to uproperty damage" Included within the "underground resources
hazard" arising out of the operations performed by you or on your behalf and described in this endorsement:

1.   The following exclusions are added to SECTION I, COVERAGES, COVERAGE A - EXCESS LIABILITY
     COVERAGE, paragraph 2, EXCLUSIONS:
     g.   Any costs or expense Incurred by you or at your request or by or at the request of any "co-owner of
          the working interest" in connection with controlling or bringing under control any oil, gas or water
          well.
     h.   Damages claimed by any "co-owner of the working interest".
     The following additional definitions are added to SECTION V - DEFINITIONS COVERAGE A:

     8.   "Underground resources hazard" means third party "property damage" to any of the following:

          a.      Oil, gas, water or other mineral substances which have not been reduced to physical possession
                  above the surface of the earth or above the surface of any body of water;

          b.      Any well, hole, formation, strata or area in or through which exploration for or production of any
                  substances is carried on,

     9.   "Co-owner of the working interest" means any person or organization who is, with you, a co-owner,
          joint venturer or mining partner in mineral properties who:

          a.      Participates in the operating expense of such properties; or

          b.      Has the right to participate in the control, development or operation of such properties.

3.   Upon the "occurrence" of a blowout or cratering of any oil, gas or water well resulting from or In
     connection with operations performed by you or on your behalf, you agree that you will at your own cost
     and expense, promptly and diligently take whatever Steps are necessary or legally required of you or any
     other person to bring such well under control.
If you delay or fail to comply with this agreement, we will not be liable for any "property damage" included
within the "underground resources hazard" resulting from the blowout or cratering of any such well.




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                                                                                                     Northfleld   oop
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It is hereby agreed and understood that this endorsement shall not extend coverage to apply to damage to or
iossof use-of any casing, pipe, bit, tool, pump, or other drilling or well servicing equipment or machinery or
equipment located beneath the surface of the earth or beneath the surface of any body of water.

It is further agreed and understood that if you carry any other valid Insurance covering any claims, losses, perils
or hazards covered hereunder, then this policy shall apply in excess of all other such Insurance.

All other terms and conditions remain unchanged.




                                                              BY




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                                                                                                  Northfield 001P2
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    &'      Northland
            Insurance Companies
                                                                I          jiwu'i'i I          1 fl1
                                                                           PLEASE READ IT CAREFULLY.
                                                                                                     'JL.I, Y.




'This endorsement Is EFFECTIVE            EFFDATE                     'and Is part of.Policy Number. NlJMRER

issued to: A$8DNAME*

'Entry optional if shown in the Policy Declarations, It no entry is shown, the effective date of the endorsement
Is the same as the effective date of the policy.

                                      FELLOW EMPLOYEE ENDORSEMENT'
This endorsement modifies Insurance provided under the following:

                                 COMMERCIAL UMBRELLA LIABILITY COVERAGE PART


Effective at Inception and In consideration of the premium charged, it is understood an4 agreed SECTION II - WHO IS AN
INSURED COVERAGE A AND 13 paragraph 2. Sub-paragraph (a) Is eliminated in Its entirety and replaced by the !olowktg:

           2.    Each of the following Is also an Insured:

                 (a) Your employees, other than your executive officers, but only for acts within the scope of their
                      employment by you,

-                    .However, none of these employees; bthèrtháriyour managers and/or supervisors '"'an Insured for
                      "bodily injury" or "personal Injury" to you or to a co-employee while in the course of his or her
                      employment.




AJI other terms and conditions remain unchanged.




                                           -                        BY:________________________ -




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                                                                    THIS ENDORSEMENT CHANGES THE POLICY.
&  Northland                                                                PLEASE READ IT CAREFULLY.
W Insurance Companies

*This endorsement Is EFFECTIVE            aEFFDATE>>                      *and Is part of Policy Number: rNUMBER,

*issued to: ASSDNAME

"Entry optional if shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement
Is the same as the effective date of the policy.


                              ADDITIONAL INSURED OIL OR GAS OPERATIONS
                                  NON-OPERATING WORKING INTEREST


This endorsement modifies insurance provided under the following:


                                 COMMERCIAL UMBRELLA LIABILITY COVERAGE FORM


The definition of "insured" on page one of this policy does not apply to non-operators as designated in the applicable
operating agreement. SECTION H - WHO IS AN INSURED COVERAGE A AND B Is amended to include the following as
an Insured:

1.   You with respect to any non-operating working interest In any oil or gas lease with any co-owners joint venture, or
     mining partners, but only with respect to liability arising out of such interest;

2.   When any Named Insured Is designated as an operator In the applicable operating agreement the first Named
     Insured shown in the Declarations may elect to consider as Insureds, any of your co-owners, Joint venture or mining
     partners having a non-operating working interest with you In any oil or gas lease, but only with respect to their liability
     arising out of such interest and only to the extent of:
     a)   The first Named Insured's election, within the limit of liability of this policy; or
     b)   In the absence of an election by the first Named Insured, the extent provided for in the applicable operating
          agreement, within the limit of liability of this policy; or
     c)   in the absence of an election by the first Named Insured and an operating agreement, the limit of liability
          provided by this policy.

3.   The first Named Insured shown in the Declarations may elect to consider as Insureds, any owners or co-owners of oil
     or gas leases, but only with respect to your or their liability for operations you conduct as operating agent under
     written contract with the owner or co-owner and only to the extent of
     a)   The first Named Insured's election, within the limit of liability of this policy; or
     b)   In the absence of an election by the first Named Insured, the extent provided for in the applicable operating
          agreement, within the limit of liability of this policy; or
     c)   In the absence of an election by the first Named Insured and an operating agreement, the limit of liability
          provided by this policy.




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                                                                                                           Northfield OOfJ
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     Northland
'LXI Insurance Companies                                     THIS ENDORSEMENT CHANGES THE POLICY.
                                                                    PLEASE READ IT CAREFULLY.


 *This endorsement is EFFECTIVE                                    and is part of Policy Number;


 *issued to:

 *Entry optional if shown in the Policy Declarations. If no entry is shown, the effective date of the endorsement is the
 same as the effective date of the policy.


                                            SERVICE OF SUIT

 It is agreed that in the event of our failure to pay any amount claimed to be due hereunder, we, at your request,
 will submit to the jurisdiction of any court of competent jurisdiction within the United States of America and will
 comply with all requirements necessary to give such court jurisdiction and all matters arising hereunder shall be
 determined in accordance with the law and practices of such court.

It is further agreed that service of process in such suit may be made upon our President or his nominee, at 1295
Northland Drive, Mendota Heights, Minnesota 55120 and that in any suit Instituted against any one of them upon
this policy we will abide by the final decision of such court or of any appellate court in the event of an appeal.

The above-named is authorized and directed to accept service of process on our behalf in any suit.




                                                                                Authorized Representative

S1 030-IL (6/94)


                                                                                                       Northfield
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                                                                                               IL 02750695

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     TEXAS CHANGES - CANCELLATION
                    AND NONRENEWAL PROVISIONS FOR
                          CASUALTY LINES AND
                     COMMERCIAL PACKAGE POLICIES
This endorsement modifies insurance provided under the following:
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART - FARM LIABILITY COVERAGE FORM
   LIQUOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
This endorsement also modifies insurance provided under the following when written as part of a Commercial
Package Policy:
   BOILER AND MACHINERY COVERAGE PART
   COMMERCIAL CRIME COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   FARM COVERAGE PART - FARM LIABILITY COVERAGE FORM
   FARM COVERAGE PART LIVESTOCK COVERAGE FORM
   FARM COVERAGE PART MOBILE AGRICULTURAL MACHINERY AND EQUIPMENT
                               COVERAGE FORM
   GLASS COVERAGE FORM
   LIQUOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. Paragraph 2. of the CANCELLATION Common                     The permissible reasons for cancellation are
   Policy Condition is replaced by the following:              as follows:
   2. We may cancel this policy by mailing or deliv-           a. If this policy has been in effect for 60 days
      ering to the first Named Insured written notice             or less, we may cancel for any reason ex-
      of cancellation, stating the reason for cancella-           cept, that under the provisions of the Texas
      tion, at least 10 days before the effective date            Insurance Code, we may not cancel this
      of cancellation.                                            policy solely because the policyholder is an
      However if this policy covers a condominium                 elected official.
      association, and the condominium property                b. If this policy has been in effect for more
      contains at least one residence or the condo-               than 60 days, or if it is a renewal or con-
      minium declarations conform with the Texas                  tinuation of a policy issued by us, we may
      Uniform Condominium Act, then the notice of                 cancel only for one or more of the following
      cancellation, as described above, will be pro-              reasons:
      vided to the First Named Insured 30 days be-               (1) Fraud in obtaining coverage,
      fore the effective date of cancellation. We will
      also provide 30 days' written notice to each               (2) Failure to pay premiums when due:
      unit-owner to whom we issued a certificate or              (3) An increase in hazard within the control
      memorandum of insurance, by mailing or de-                      of the insured which would produce an
      livering the notice to each last mailing address                increase in rate;
      known to us.




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          (4) Loss of our reinsurance covering all or         3. If this policy covers a condominium associa-
               part of the risk covered by the policy; or        tion, and the condominium property contains at
          (5) If we have been placed in supervision,             least one residence or the condominium decla-
               conservatorship or receivership and the           rations conform with the Texas Uniform Con-
               cancellation is approved or directed by           dominium Act, then we will mail or deliver
               the supeMsor, conservator or receiver.            written notice of nonrenewal, at least 30 days
                                                                 before the expiration or anniversary date of the
B. The following condition is added and supersedes               policy, to:
   any provision to the contrary:
                                                                 a. The first Named Insured; and
   NONRENEWAL
                                                                 b. Each unit-owner to whom we issued a
   'I. We may elect not to renew this policy except,                 certificate or memorandum of insurance,
       that under the provisions of the Texas Insur-
       ance Code, we may not refuse to renew this                We will mail or deliver such notice to each last
       policy solely because the policyholder is an              mailing address known to us.
       elected official.                                      4. If notice is mailed, proof of mailing will be
   2. This Paragraph, 2., applies unless the policy              sufficient proof of notice.
       qualifies under Paragraph 3. below.                    5. The transfer of a policyholder between admit-
       If we elect not to renew this policy, we may do           ted companies within the same insurance
       so by mailing or delivering to the first Named            group is not considered a refusal to renew.
       Insured, at the last mailing address known to
       us, written notice of nonrenewal, stating the
       reason for nonrenewal, at least 60 days before
       the expiration date. If notice is mailed or deliv-
       ered less than 80 days before the expiration
       date, this policy will remain in effect until the
       61st day after the date on which the notice is
       mailed or delivered. Earned premium for any
       period of coverage that extends beyond the
       expiration date will be computed pro rate
       based on the previous years premium.




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'        Northland
         Insurance Companies
                                                                          I
                                              THIS ENDORSEMENT CHANGES THE POLICY.
                                                     PLEASE READ IT CAREFULLY.




 ENDORSEMENT NO. 2                                     0


                                 POLICY CHANGES
 POLICY NO.                      EFFECTIVE                             MPA
 NU101368                        January 31, 1989             —
                                                                             S~tdonce Company
 NAMED INSURED                                                      AUTHORIZED REPRESENTATIVE

 Wagner Oil Company                                                 Burke-Daniels Co.. Inc.


 COVERAGE PARTS AFFECTED

     P657OG (10/971 and All Policy Attachments/Forms


                                             CHANGES

 It Is understood and agreed that the Named Insured is amended to

        H. Ed Patterson
        Brent D. Talbot
        Stephen M. Clark
        Ernie Grodi
        Dennis A. Taylor
        Mark W. Belcher              t')




 All Other Terms and Conditions Remain Unchanged.                                  1TS
                                                                                   1




                                                          -   Authorized Representative Signature




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Harrell, Torrence

From:                        Delgado,Wilma <WDELGADl@travelers.com >
Sent:                        Wednesday, March 08, 2017 2:47 PM
To:                          TravelersSOP
Cc:                          Service-of-Process-Coordinator
Subject:                     Travelers Direct 3/8/17
Attachments:                 Bryan C Wagner v. Northfield Ins Co(s).pdf
